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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO



  WEST COAST MANAGEMENT & CAPITAL,               )
  LLC, Derivatively, on behalf of Nominal        )
  Defendant CARRIER ACCESS                       )
  CORPORATION                                    )
                                                 )
        Plaintiff,                               )     Civil Case No.
                                                 )
  v.                                             )
                                                 )
  ROGER L. KOENIG,                               )
  TIMOTHY R. ANDERSON,                           )
  NANCY PIERCE,                                  )
  JOHN W. BARNETT, JR.,                          )
  DAVID R. LAUBE,                                )
  MARK FLOYD,                                    )
  THOMAS C. LAMMING,                             )
  KELD, LLC, and LANCE W. LORD,                  )
                                                 )
        Defendants.                              )
                                                 )
  And                                            )
                                                 )
  CARRIER ACCESS CORP.,                          )     JURY TRIAL DEMANDED
                                                 )
        Nominal Defendant.                       )




                     VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT


        Plaintiff West Coast Management & Capital, LLC (“Plaintiff”), derivatively and on

  behalf of Nominal Defendant Carrier Access Corporation, files this Verified Shareholder




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  Derivative Complaint and alleges, upon information and belief, except as to those

  allegations that pertain to Plaintiff, which are alleged on personal knowledge, as follows:

                    I.     NATURE AND SUMMARY OF THE ACTION

         1.     This is a shareholder derivative action brought by Plaintiff, a shareholder

  of Carrier Access Corporation ("Carrier Access" or the "Company"), against certain

  current or former officers and directors of Carrier Access seeking to remedy the

  Individual Defendants' violations of state law, including breaches of fiduciary duties,

  abuse of control, gross mismanagement, waste of corporate assets and unjust

  enrichment that occurred from October 21, 2003 through May 20, 2005 (the "Relevant

  Period") and have caused substantial losses to Carrier Access.

         2.     Nominal Defendant Carrier Access designs, manufactures and sells

  converged access equipment to wireline and wireless carriers. The Company's products

  are used to upgrade capacity and provide enhanced services to wireline and wireless

  communications     networks.   Its   products    support   traditional   telecommunications

  technologies, as well as technologies, such as voice-over Internet protocol (“VoIP”) and

  fiber-based access, which is referred to as a passive optical network (“PON”). The

  Company's product portfolio features eight platforms that reside in a variety of locations,

  including Carrier Access' central office, cell site and wireless hub locations, and the end

  user's business premises.

         3.     Throughout the Relevant Period, the Individual Defendants issued

  numerous positive press release and statements and filed quarterly reports with the

  SEC that described the Company’s financial performance.            These statements were



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  materially false and misleading because they failed to disclose and misrepresented,

  inter alia, that Defendants had engaged in improper accounting practices. Defendants

  have already admitted that Carrier’s publicly announced year-end 2003 and 2004

  financial statements were materially false and misleading. In addition, Defendants have

  also admitted that all eight quarterly financial statements reported to the investing public

  for the years 2003 and 2004 were materially false and misleading. As a result of this

  financial misreporting, Carrier has restated all of its publicly issued financial statements

  issued for FY2003 and FY2004.             The financial restatements are enormous.

  Defendants’ failure to comply with Generally Accepted Accounting Principles (“GAAP”)

  caused, for example: a) FY2003 net income and Earnings Per Share (“EPS”) to be

  overstated by 62.6% and 66.7%, respectively; b) 2Q04 net income and EPS to be

  overstated by 23.7% and 22.2%, respectively; c) 4Q04 net income and EPS to be

  overstated by 59.6% and 63.6%, respectively; and d) FY2004 net income and EPS by

  150.5% and 160.0% respectively. Significantly, while Defendants reported that FY2004

  was profitable with positive EPS, the restated results admit that the Company had

  actually lost $1.8 million and its EPS lost $0.05 for the year.           The Company’s

  restatement also disclosed that Carrier had material weaknesses and management

  circumvented and failed to establish required accounting controls so that its financial

  statement complied with GAAP. Carrier’s overstated financial results in FY2003 and

  FY2004 caused the market to believe that Carrier was a much more financially

  successful and profitable company than it actually was and, as a result, the Company’s

  share price was artificially inflated throughout the Relevant Period.



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        4.     The Individual Defendants took full advantage of the artificial inflation in

  Carrier’s stock price during the Relevant Period and unloaded over 730,000 shares of

  their own personal Carrier stock, reaping over $8.7 million in unlawful insider trading

  proceeds.   While the Individual Defendants were selling their personal holdings in

  Carrier common stock, they were simultaneously issuing materially false and misleading

  financial statements. This, of course, allowed the Individual Defendants to unload their

  stock on the unsuspecting investing public at prices much higher than if the true

  financial condition was known to the market. The Individual Defendants’ stock sales

  coincided with peaks in Carriers’ sock price as a result of the fraud. The average

  trading price for Carrier stock in the 90 days after Defendants’ fraud was revealed- May

  20, 2005 to August 19, 2005- was only $5.16 per share. In contrast, the Individual

  Defendants unloaded their stock at prices as high as $17.75. The average trading price

  of the Individual Defendants’ illegal insider sales was $12.03, 133% higher than the

  average trading price of Carrier stock after the fraud was revealed.

        5.     On May 20, 2005, the Company issued a press release providing updates

  of its previously announced and ongoing financial review.              The press release

  announced that it had determined that the Company had recorded certain revenues and

  direct costs and that the amounts were significant. Following this news, shares of the

  Company’s securities fell $0.69 per share, almost 13% to close at $4.61 per share, on

  unusually heavy trading volume. Numerous securities class action lawsuits against the

  Company followed.     Also, the SEC is conducting an internal investigation into the

  Company’s conduct.



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         6.     Subsequently on August 2, 2005, the Company announced that it had

  restated its financial statements for the years 2003 and 2004. The Company attributed

  the improper accounting practices that necessitated the restatement to a lack of

  effective internal financial controls.

                              II.    JURISDICTION AND VENUE

         7.     This Court has jurisdiction over this action pursuant to 28 U.S.C.

  §1332(a)(2) in that Plaintiff and Defendants are citizens of different states and the

  matter in controversy exceeds $75,000.00, exclusive of interests and costs.

         8.     Also, this Court has jurisdiction over this action pursuant to 28 U.S.C.

  §1331(a)(2) as a federal question exists.

         9.     This action is not a collusive one designed to confer jurisdiction on a court

  of the United States which it would not otherwise have.

         10.    Venue is proper in this district because a substantial portion of the

  transactions and wrongs complained of herein, including the Individual Defendants’

  participation in the wrongful acts detailed herein, occurred in this district, and Carrier

  Access maintains its corporate headquarters in this district. Further, Defendants either

  reside in or maintain executive offices in this district, and/or have received substantial

  compensation in this district by engaging in numerous activities and conducting

  business here, which had an effect in this district.




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                                      III.   PARTIES

         11.    Plaintiff West Coast Management & Capital, LLC, is a limited liability

  company organized under the laws of the State of Washington. Plaintiff is and was at

  all relevant times, a shareholder of Nominal Defendant Carrier Access.

         12.   Nominal Defendant Carrier Access is a Delaware corporation with its

  principal place of business located in Colorado. Carrier Access designs, manufactures,

  and sells converged access equipment to wireline and wireless carriers.               The

  Company's products are used to upgrade capacity and provide enhanced services to

  wireline and wireless communications networks. Its products support traditional

  telecommunications technologies, as well as technologies, such as VoIP and fiber-

  based access. The Company's product portfolio features eight platforms that reside in a

  variety of locations, including Carrier Access's central office, cell site and wireless hub

  locations, and the end user's business premises.

         13.   Defendant Roger Koening ("Koening") is a citizen and resident of the

  State of Colorado. Koening, a founder of the Company, has served as Carrier Access'

  President, Chief Executive Officer and Chairman of its Board of Directors since its

  formation in 1992. As part of the duties of his senior positions at Carrier, Koenig was

  responsible for directing the Company’s finances and business affairs.             As the

  Chairman of Carrier’s Board of Directors, Koenig was required to not only keep himself

  informed of the Company’s day-to-day business and finances, but also to keep Carrier’s

  non-management directors apprised of the state of Carrier’s business and finances,

  including the revenue and growth figures and the outlook for the Company’s wireless



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  business – Carrier’s primary revenue source.       During the Relevant Period, Koenig

  participated in the issuance of false and misleading statements and failed to disclose

  material information about Carrier’s business, accounting and financial status and

  outlook.    During the Relevant Period, while in possession of material, undisclosed

  information about Carrier’s false financial statements, Koenig sold 280,500 shares of his

  Carrier stock for insider trading proceeds of more than $3.5 million.

        14.     Defendant Nancy G. Pierce ("Pierce") is a citizen and resident of the State

  of Colorado. Pierce, a co-founder of the Company, has served as Carrier Access'

  Corporate Development Officer since April 2000.        Pierce served as the Company’s

  Interim Chief Financial Officer from November 2004 through June 2005 after Defendant

  Anderson resigned as Chief Financial Officer on November 18, 2004. Pierce has also

  served as the Company’s Secretary and a member of its Board of Directors since its

  formation in 1992.     Pierce held previous positions of Corporate Controller, Chief

  Financial Officer, Vice President – Finance and Administration and Treasurer with the

  Company.      As part of the duties of her senior positions at Carrier, Pierce was

  responsible for directing the Company’s finances and business affairs. As a member of

  Carrier’s Board of Directors, Pierce was required to keep herself informed of the

  Company’s day-to-day business and finances, including the revenue and growth figures

  and the outlook for the Company’s wireless business- Carrier’s primary revenue source.

  During the Relevant Period, Pierce participated in the issuance of false and misleading

  statements and failed to disclose material information about Carrier’s business,

  accounting and financial status and outlook.    During the Relevant Period, while in the



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  possession of material, undisclosed information about Carrier’s false financial

  statements, Pierce sole 280,500 shares of her Carrier stock for insider trading proceeds

  of more than $3.5 million.

        15.    Koenig and his wife, Pierce, are the managing members of Keld LLC

  (“Keld”) and they have shared voting power over the Company’s shares held in Keld.

  During the Relevant Period, Koening and Pierce, through Keld, sold 561,000 Carrier

  Access shares for insider trading proceeds of more than $7 million.

        16.    Defendant Timothy R. Anderson ("Anderson") is a citizen and resident of

  the State of Alabama. Anderson was Carrier Access' Chief Financial Officer and Vice

  President of Finance Administration of the Company until his resignation on November

  18, 2004. Anderson resigned as CFO for Carrier as a result of this concern with the

  improper recognition of revenue associated with the 4Q04 Verizon Wireless transaction

  and the myriad of additional undisclosed GAAP violations that had been occurring at

  Carrier during FY2003 and FY2004.       Shortly after his resignation, Anderson filed a

  lawsuit against Defendants Koenig and Pierce charging that prior to his November 18,

  2004 resignation, he personally informed Koenig that the 4Q04 $4.0 million Verizon

  Wireless transaction should not be recognized as revenue by Carrier under GAAP.

  During the Relevant Period, Anderson participated in the issuance of false and

  misleading statements and failed to disclose material information about Carrier’s

  business, accounting and financial status and outlook.     While in the possession of

  material, undisclosed information about Carrier’s false financial statements, Anderson




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  sold 167,819 Carrier Access shares for insider trading proceeds of more than $1.7

  million.

          17.   Defendant David R. Laube (“Laube”) is a citizen and resident of the State

  of Colorado. Laube has served as a member of the Board of Directors of the Company

  since January 2001.

          18.   Defendant Mark A. Floyd (“Floyd”) is a resident of the State of Texas.

  Floyd has served as a member of the Board of Directors of the Company since June

  2001.

          19.   Defendant Thomas C. Lamming (“Lamming”) is a citizen and resident of

  the State of Colorado. Lamming has served as a member of the Board of Directors of

  the Company since April 2, 2004.

          20.   John W. Barnett, Jr. (“Barnett”) is not a resident of the state of Washington

  and is believed to be a citizen and resident of the State of North Carolina. Barnett has

  served on the Company’s Board of Directors since December 1998.

          21.   Defendant General Lance W. Lord (“Lord”), upon information and belief, is

  a resident of Colorado. Lord was appointed to the Board of Directors on July 14, 2006.

  Lord also serves on the Company’s Compensation and Nominating and Corporate

  Governance Committees.

          22.   Defendant Keld, LLC (“Keld”) is, and at all relevant times was, a

  shareholder of Carrier Access. Defendants Koenig and Pierce are managing members

  of Keld and have shared voting and investment power over the shares held by Keld.

  During the Relevant Period Keld, through Defendants Koenig and Pierce, sold 561,000



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   Carrier Access shares for proceeds of over $7 million. Keld is a Colorado limited liability

   company with its principal place of business located in Colorado.

          23.    Defendants Koening, Pierce, Anderson, Laube, Floyd, Barnett, Lord and

   Lamming are collectively referred to herein as the “Individual Defendants.” Defendants

   Koening, Pierce, Laube, Floyd, Lord, Barnett and Lamming are collectively referred to

   herein as the “Director Defendants.”

                     IV.    DUTIES OF THE INDIVIDUAL DEFENDANTS

          24.    By reason of their positions as officers and/or directors of the Company

   and because of their ability to control the business and corporate affairs of the

   Company, the Individual Defendants owed the Company and its shareholders the

   fiduciary obligations of good faith, trust, loyalty, and due care. Each director and officer

   of the Company owed to the Company and its shareholders the fiduciary duty to

   exercise good faith and diligence in the administration of the affairs of the Company. In

   addition, the Defendants owed a duty to the Company and its shareholders to

   implement adequate internal controls and procedures to reasonably assure that the

   financial condition and business prospects of the Company were reported truthfully and

   accurately, that the Company complied with all applicable state and federal laws and

   that the Company’s financial statements were prepared and presented in accordance

   with Generally Accepted Accounting Principles (“GAAP”).           As set forth below the

   Individual Defendants violated these duties and abdicated their oversight responsibilities

   to the Company. As a result, the Company has been named as a defendant in and

   exposed to millions of dollars of liability from securities class action lawsuits and has



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   incurred and will continue to incur legal, accounting and other expenses. As a further

   result, the Company is the subject of an informal Securities and Exchange Commission

   (“SEC”) investigation. In addition, Defendant Anderson and Director Defendants Koenig

   and Pierce have reaped millions of dollars in illicit insider trading profits.

          25.    As further alleged herein, Carrier Access’ current Board of Directors is

   unable to make an impartial determination as to whether to institute legal proceedings to

   redress the wrongdoing alleged herein because a majority of its members (1) face a

   substantial likelihood of liability for non-exculpated breaches of their fiduciary duties to

   the Company and shareholders by their participation or acquiescence in the wrongdoing

   alleged herein and/or complete failure to perform their oversight duties to the Company,

   failure to implement internal accounting controls sufficient to reasonably assure that the

   Company’s financial statements were prepared and presented in accordance with

   GAAP and failure to oversee the Company’s compliance with legally mandated

   disclosure standards and systemic failure to assure that a reasonable information and

   reporting system existed, and/or (2) are not independent from members of Carrier

   Access’ Board of Directors who face a substantial likelihood of liability.

                             V.     SUBSTANTIVE ALLEGATIONS

          26.    On October 21, 2003, the Company issued a press release entitled

   "Carrier Access Reports Third Quarter 2003 Financial Results; Revenues Grow 31%

   Sequentially; Company Achieves Third Consecutive Quarterly Profit." The press release

   stated in part:




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              Carrier Access Corporation, a leading provider of broadband
              access solutions, today reported its financial results for the third
              quarter ended September 30, 2003.

              Revenues for the third quarter of fiscal 2003 were $15.9 million
              compared with $12.2 million for the second quarter of fiscal 2003
              and $10.5 million for the third quarter of fiscal 2002. Net income for
              the third quarter of fiscal 2003 was $702,000 or $0.03 per diluted
              share compared with a net income for the second quarter of fiscal
              2003 of $122,000 or $0.00 per diluted share and a net loss of $14.9
              million or $0.60 per diluted share for the third quarter of fiscal 2002.

              Revenues for the first nine months of fiscal 2003 were $39.3 million
              compared with $38.8 million in the same period last year. Net
              income for the first nine months of fiscal 2003 was $941,000 or
              $0.04 per diluted share compared with a net loss for the first nine
              months of fiscal 2002 of $44.6 million or $1.80 per diluted share.
              During the first nine months of 2003, the company recovered
              significant amounts of aged receivables, and accordingly changed
              its estimates for allowance for doubtful accounts.

              "This was a great quarter for Carrier Access, our third consecutive
              quarter of revenue and net income growth," said Roger Koening,
              president and CEO, Carrier Access Corporation. "We are clearly
              executing our plan to return to profitability and to increase our
              revenue through diversification of our customer base with the
              introduction of new products. Our third-quarter results demonstrate
              our progress as revenues grew 31% sequentially to $15.9 million,
              reflecting increased market demand for our wireless, integrated
              business services, Voice over IP (VoIP), and fiber solutions. Our
              investments in research and development over the last two years
              are now showing returns as we continue to deliver new applications
              to new customers. As a result, we believe we are gaining
              momentum and market share in our target access segments.

              "The third quarter was particularly significant for us in the wireless
              market. We believe that our success is due to a continuing wireless
              carrier focus on cell site efficiency, improving remote management,
              upgrading sites for E911 compliance, and providing packetized
              traffic for 3G migration. In June of 2002, we introduced the
              Axxius(TM) 800 platform as part of our market diversification
              strategy and we are now recognizing the benefits of that investment
              with 28% of our Q3 revenue generated from sales to the wireless
              market. We intend to continue our development efforts in this area



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                 to enable wireless carrier customers to migrate to new packet-
                 based solutions for even greater operational efficiencies.

                 "In addition to gaining momentum in the wireless market, earlier this
                 month we announced successful trials and a strategic partnership
                 for fiber-to-the-premises (FTTP) deployments. Our product
                 development of the Exxtenz(TM) Business Optical Network
                 Terminal (B-ONT) began to pay off as well as in the third quarter as
                 we recognized our first meaningful revenue for this new access
                 technology. We are clearly delivering results on our investment in
                 packetized access technologies that are designed to lower the cost
                 of delivering new broadband services to businesses and end users.
                 During the third quarter, we added new features to our Adit(R) 600
                 platform, and successfully trialed new VoIP features for
                 international customers. We are seeing increased demand for our
                 Adit 600 platform both for traditional voice deployments and for
                 VoIP applications. We are extremely encouraged by our customers'
                 adoption of the Adit 600 platform.

   (Emphasis added.)

          27.    On November 14, 2003 Carrier Access filed its quarterly report for third

   quarter 2003 with the SEC on Form 10-Q. It was signed by Defendant Anderson. The

   Company’s Form 10-Q reaffirmed the Company’s previously announced financial

   results for the third quarter 2003. Also, in the Form 10-Q the Company represented that

   its internal controls were “effective.”   In addition, Defendants Koenig and Anderson

   certified:

                 The registrant’s other certifying officer and I have disclosed,
                 based on our most recent evaluation of internal control over
                 financial reporting, to the registrant’s auditors and the audit
                 committee of the registrant’s board of directors (or persons
                 performing the equivalent functions):

                 (a)    all significant deficiencies and material weaknesses in
                        the design or operation of internal controls over
                        financial reporting which are reasonably likely to
                        adversely affect the registrant’s ability to record,




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                       process, summarize and report financial information;
                       and
                 (b)   any fraud, whether or not material, that involves
                       management or other employees who have a
                       significant role in the registrant’s internal control over
                       financial reporting.

          28.    The Defendants statements regarding the Company’s 3Q03 financial

   results and business condition were materially false and misleading when made, or

   omitted material facts necessary to make the statements not false or misleading.

   Defendants knew or recklessly disregarded, but failed to disclose the following:

                 (a)   During 3Q03 the defendants improperly managed earnings through
                       various accounting manipulations in violation of GAAP which
                       allowed them to meet or exceed security analysts’ expectations
                       including:

                       (i)    improperly recoding revenue for shipments of product for
                              which Carrier had passed neither title nor risk of loss to the
                              customers, resulting in overstatement of the company’s net
                              revenue by $1.2 million, of 8.5%; and

                       (ii)   reducing inventory reserves for products that had been
                              previously determined to be unsellable, and upon sale of the
                              written-down inventory, improperly writing it back up,
                              resulting in understatement of the company’s cost of sales
                              and overstatement of net income by $229,000, or 48.4%;

                 (b)   the Company lacked adequate internal controls; and

                 (c)   as a consequence of the aforementioned practices, the Company’s
                       revenues and net income were artificially inflated and reported
                       financial results were in violation of GAAP.

          29.    Defendants’ false and misleading statements and omissions had a direct

   effect on the price of Carrier’s stock price, which increased to over $7.70 per share

   between October 21, 2003 and November 14, 2003, and continued to trade at artificially

   inflated prices.


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          30.    Notwithstanding their knowledge that the statements regarding the

   Company’s 3Q03 financial results were false and misleading, between October 21,

   2003 and November 26, 2003, Defendants Koenig and Pierce each sold 43, 500 shares

   of Carrier stock for unlawful insider trading proceeds exceeding $975,000.

          31.    On November 25, 2003, with the Company's shares further inflated by the

   Individual Defendants' false statements, Carrier Access acquired the company Paragon

   using Carrier Access' own shares as currency. The acquisition of Paragon enhanced

   Carrier’s product portfolio with the “MASTERseries” and “BROADway” transport

   devices, purportedly raising the Company to a “leadership position” in the wireless data

   transport market. Notably, Defendants held the Paragon acquisition out to the market

   as a vehicle to diversify Carrier’s wireless service provider and Original Equipment

   Manufacturer (“OEM”) customer base in the face of increased wireless provider market

   consolidation.   The Company issued a press release "Carrier Access Completes

   Acquisition of Paragon Networks" disclosing the terms of transaction:

                 Carrier Access Corporation, a leading provider of broadband
                 access and service delivery platforms for both wireline and wireless
                 communications carriers, today announced the completion of its
                 acquisition of Paragon Networks International Inc. Under the terms
                 of the transaction, Carrier Access issued approximately 1,334,521
                 shares of common stock and paid approximately $411,407 in cash
                 for all outstanding shares of Paragon capital stock. The combined
                 company will be headquartered in Boulder, Colorado.

          32.    On January 20, 2004, the Company issued a press release entitled

   "Carrier Access Reports Fourth Quarter and 2003 Year End Financial Results." The

   press release stated in part:




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                Carrier Access Corporation, a manufacturer of broadband
                communications equipment, today reported results for its fourth
                quarter and year ended December 31, 2003.

                Revenue for the fourth quarter of fiscal 2003 was $23.3 million
                compared with $15.9 million for the third quarter of fiscal 2003 and
                $11.5 million for the fourth quarter of fiscal 2002. Net income for the
                fourth quarter of fiscal 2003 was $1.5 million or $0.05 per diluted
                share compared with net income for the third quarter of fiscal 2003
                of $702,000 or $0.03 per diluted share and a net loss of $8.0 million
                or $0.32 per diluted share for the fourth quarter of fiscal 2002.

                Revenue for the year 2003 was $62.6 million compared with $50.2
                million for the year of 2002. Net income for the year of 2003 was
                $2.5 million or $0.09 per diluted share, compared with a net loss for
                the year of 2002 of $52.7 million or $2.13 per diluted share.

                "The fourth quarter was an excellent quarter for Carrier Access as
                we recorded our fourth consecutive quarter of revenue and net
                income growth," said Roger Koening, President and CEO of Carrier
                Access. "Our fourth quarter results showed a 46% gain in revenue
                to $23.3 million over $15.9 reported in the third quarter. This
                revenue increase was primarily driven by our wireless customer
                deployments."

                "We believe that 2003 was a successful year for Carrier Access. At
                the beginning of the year our focus was to increase revenues and
                return to profitability during the year. Our approach for achieving
                this goal was to diversify our customer base, focus our sales and
                marketing efforts on wireless and other new markets, and introduce
                new products, while controlling our expenses. We believe that our
                2003 results clearly demonstrate that we achieved this goal - as we
                ended the year profitably with revenue growth of 24.5% over 2002."

   (Emphasis added.)

         33.    On January 30, 2004, the Company issued a press release entitled

   "Carrier Access Announces Public Offering of 6,000,000 Shares of Common Stock."

   The press release stated in part:

                Carrier Access announced today the public offering of 6,000,000
                shares of common stock at a price of $12.25 per share.



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                The managing underwriters of the offering were Credit Suisse First
                Boston LLC, Deutsche Bank Securities Inc. and Needham &
                Company, Inc. Credit Suisse First Boston LLC served as the sole
                book runner. The underwriters have an option to purchase up to
                900,000 additional shares of common stock from the company
                solely to cover over-allotments, if any.

         34.    In the first quarter 2004, Carrier Access completed a public offering of

   approximately 6.8 million shares of common stock resulting in net proceeds to the

   Company of approximately $78.5 million.

         35.    On March 30, 2004 Carrier Access filed its annual report for the year

   ending 2003 with the SEC on Form 10-K. It was signed by Defendants Anderson,

   Koenig, Pierce, Laube, Barnett and Floyd. The Company’s Form 10-K reaffirmed the

   Company’s previously announced financial results for the fourth quarter and year

   ending 2003. Also, in the Form 10-Q the Company represented that its internal controls

   were “effective.” In addition, Defendants Koening and Anderson certified:

                The registrant’s other certifying officer and I have disclosed,
                based on our most recent evaluation of internal control over
                financial reporting, to the registrant’s auditors and the audit
                committee of the registrant’s board of directors (or persons
                performing the equivalent functions):

                (a)    all significant deficiencies and material weaknesses in
                       the design or operation of internal controls over
                       financial reporting which are reasonably likely to
                       adversely affect the registrant’s ability to record,
                       process, summarize and report financial information;
                       and
                (b)    any fraud, whether or not material, that involves
                       management or other employees who have a
                       significant role in the registrant’s internal control over
                       financial reporting.




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          36.    The Defendants’ statements regarding the Company’s 4Q03 and FY2003

   financial results and business condition were materially false and misleading when

   made, or omitted material facts necessary to make the statement not false or

   misleading.   Defendants knew or recklessly disregarded, but failed to disclose the

   following:

                 (a)    throughout FY2003, the defendants improperly managed earnings
                        through various accounting manipulations in violation of GAAP
                        which allowed them to meet or exceed security analysts’
                        expectations including:

                        (i)     improperly recording revenue for shipments of product for
                                which Carrier had passed neither title nor risk of loss to the
                                customer, resulting in overstatement of the Company’s net
                                income by $34,000;

                        (ii)    reducing inventory reserves for products that had been
                                previously determined to be unsellable, and upon sale of the
                                written-down inventory, improperly writing it back up,
                                resulting gin understatement of the Company’s cost of sales
                                and overstatement of net income by $912,000; and

                        (iii)   as a result of defendants’’ improper recognition of revenue
                                and inventory reserves, the Company’s net income and EPS
                                for FY2003 were materially overstated by 62.6% and 66.7%,
                                respectively;

                 (b)    the Company lacked adequate internal controls; and

                 (c)    as a consequence of the aforementioned practices, the Company’s
                        revenues and net income were artificially inflated and reported
                        financial results were in violation of GAAP.

          37.    Defendants’ false and misleading statements and omission concerning

   Carrier’s 4Q03 and FY2003 financial results had a direct effect on the price of Carrier’s

   stock, which continued to trade at artificially inflated levels above $9.00 per share.




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         38.    Notwithstanding their knowledge that the statements regarding the

   Company’s 4Q03 and FY2003 financial results and prospects were false and

   misleading, between December 1, 2003 and February 27, 2004, Defendants Koenig

   and Pierce each sold a total of 94,500 shares of Carrier stock for unlawful insider

   trading proceeds exceeding $2.5 million.

         39.    On April 20, 2004, the Company issued a press release entitled "Carrier

   Access Reports First Quarter 2004 Financial Results; Wireless Sales Drive 23%

   Quarter over Quarter Revenue Growth." The press release stated in part:

                Carrier Access Corporation, a manufacturer of broadband
                communications equipment, today reported results for its first
                quarter ended March 31, 2004.

                Revenue for the first quarter of 2004 was $28.5 million compared
                with $23.3 million for the fourth quarter of 2003 and $11.2 million for
                the first quarter of 2003. Net income for the first quarter of 2004
                was $2.7 million, or $0.09 per share, compared with net income for
                the fourth quarter of 2003 of $1.5 million, or $0.05 per share, and
                net income of $117,000, or $0.00 per share, for the first quarter of
                2003. This marks Carrier Access' fourth consecutive quarter of
                revenue growth and fifth consecutive quarter of net income growth.
                In the first quarter of 2004, Carrier Access completed a public
                offering of approximately 6.8 million shares of common stock,
                resulting in net proceeds to the Company of approximately $78.5
                million. The Company ended the quarter with cash, cash
                equivalents, and marketable securities available for sale of $118.1
                million.

                "Q1 was an excellent quarter for Carrier Access as we recorded
                23% quarter over quarter revenue growth, and 79% quarter over
                quarter net income growth," said Roger Koening, president, CEO
                and chairman of Carrier Access. "We believe our balance sheet
                strength, 11 years of operating history and technology direction,
                combined with our incumbent vendor status and extensive sales
                and distribution channels, give us an advantage for strong,
                continued success across our three focus markets wireless,
                broadband and fiber access."



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          40.     On May 14, 2004 Carrier Access filed its quarterly report for first quarter

   2004 with the SEC on Form 10-Q.            It was signed by Defendant Anderson.       The

   Company’s Form 10-Q reaffirmed the Company’s previously announced financial

   results for the first quarter 2004.     Also, the Company represented that its internal

   controls were “effective.” In addition, Defendants Koenig and Anderson certified:

                  The registrant’s other certifying officer and I have disclosed,
                  based on our most recent evaluation of internal control over
                  financial reporting, to the registrant’s auditors and the audit
                  committee of the registrant’s board of directors (or persons
                  performing the equivalent functions):

                  (a)    all significant deficiencies and material weaknesses in
                         the design or operation of internal controls over
                         financial reporting which are reasonably likely to
                         adversely affect the registrant’s ability to record,
                         process, summarize and report financial information;
                         and
                  (b)    any fraud, whether or not material, that involves
                         management or other employees who have a
                         significant role in the registrant’s internal control over
                         financial reporting.

          41.     The Company’s 1Q04 Form 10-Q also contained the following risk

   disclosures:

                  •      If we are unable to develop new or enhanced products … we could
                         experience a reduction in our future product sales, which would
                         cause the market price of our common stock to decline …
                         (and)

                  •      Our success depends on our ability to enhance our existing
                         products and to timely and cost-effectively develop new products.

          42.     Defendants’ false and misleading statements and omissions concerning

   Carrier’s 1Q04 financial results had a direct effect on the price of Carrier’s stock, which

   continued to trade at artificially inflated levels above $9.00 per share.


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          43.      Notwithstanding their knowledge that the statements regarding the

   Company’s 1Q04 financial results and prospects were false and misleading, between

   March 31, 2004 and May 28, 2004, Defendants Koenig, Pierce and Anderson sold a

   total of 230,000 shares of Carrier stock for unlawful insider trading proceeds exceeding

   $2.6 million.

          44.      On July 20, 2004, the Company issued a press release entitled "Carrier

   Access Reports Second Quarter 2004 Financial Results; Company Reports Fifth

   Consecutive Quarter of Revenue Growth." The press release stated in part:

                   Carrier Access Corporation, a leading provider of broadband
                   communications technologies, today reported results for its second
                   quarter ended June 30, 2004.

                   Revenue for the second quarter of 2004 was $30.8 million
                   compared to first quarter 2004 revenue of $28.5 million, an 8%
                   increase. Year over year revenue, including revenue from the
                   Paragon acquisition, increased 152% from the $12.2 million
                   reported for the second quarter of 2003.

                   Net income for the second quarter of 2004 was $3.6 million, or
                   $0.10 per share, compared with the $2.7 million, or $0.09 per
                   share, reported in the first quarter of 2004, an increase of 32%.
                   Year over year net income increased more than 29 times from the
                   $122,000, or $0.00 cents per share, reported for the second quarter
                   of 2003. This marks the fifth consecutive quarter of revenue growth
                   and eighth consecutive quarter of net income growth for Carrier
                   Access.

                   Revenue for the first six months of 2004 totaled $59.4 million,
                   compared to $23.4 million for the same period of 2003, an increase
                   of 154%. Net income for the first six months of 2004 was $6.3
                   million or $0.18 per share, compared with net income for the first
                   six months of fiscal 2003 of $239,000 or $0.01 per share.

                   In the second quarter, Carrier Access was added to the Russell
                   3000 index as part of Russell Investment Group's annual re-
                   evaluation of the closely watched indexes. The Russell 3000



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                measures the top 3,000 U.S. equities in terms of market
                capitalization.

                "The second quarter 2004 was another positive quarter for Carrier
                Access. Once again we met our financial expectations and gained
                increased interest from both current and potential customers for our
                wireless backhaul and VoIP technologies," said Roger Koening,
                chairman, CEO and president, Carrier Access. "We continue to
                operate against a solid business plan, and maintain a long-term
                outlook and commitment to our three focus markets - wireless,
                broadband and fiber access."

   (Emphasis added.)

         45.    Again, Defendants reported “record” growth and earnings for 2Q04, but

   failed to disclose that Carrier’s significant customers’, (i.e., T-Mobile and XO

   Communications), cell sites were saturated and that “FLEXEngine” technology would

   not be timely delivered to customers in 3Q04.

         46.    On July 20, 2004, the Individual Defendants reduced the Company's

   financial projections, sending the price of the Company’s shares down $4.73 to $8.06, a

   decline of 37%. The following day, Bloomberg issued an article entitled "Carrier Access

   Shares Fall on 3rd Qtr Sales Forecast," which stated in part:

                Shares of Carrier Access Corp., which makes equipment for high-
                speed wireless Internet connections, had their biggest drop ever,
                falling 37 percent after the company forecast third-quarter sales will
                be little changed from second-quarter levels.

         47.    In fact, the Company's financial results would be much worse than the

   Bloomberg article suggested and would fail to achieve even the reduced third quarter

   forecasted results through legitimate means. The Company's prospects for business

   success and earnings growth for Q3 2003 and beyond were severely diminished. As

   investors and the market became aware that Carrier Access' actual business prospects



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   were poorer than represented, which had been obfuscated by the Individual

   Defendants, the prior artificial inflation continued to evaporate, thereby eroding the

   Company's share price.

          48.     Defendants indicated that the inability to provide 3Q04 guidance was due

   to a lack of “visibility” of sales:

                  Anderson: Due to industry consolidation in the wireless market, it is
                  difficult to give meaningful guidance as wireless service providers are
                  acquiring assets and in the process of consolidating their networks and
                  covered spectrums. As a result of these events, wireless customers are
                  rationalizing their equipment inventories to determine their near-term
                  spending.

                  As such, this gives us less visibility in the short term into specific wireless
                  spending …. Looking into the third quarter, we anticipate revenue to be
                  relatively stable compared with the second quarter.

                                                       ***

                  I believe that next quarter [(3Q04)] you’ll see wireless be flat, relatively
                  stable, or maybe drop off some ….

                  In the last few weeks we’ve just seen the visibility from a few of our major
                  wireless customers decrease.

          49.     This partial disclosure, false and misleading in-and-of-itself, caused

   Carrier’s stock to plunge by more than 37% from $12.79 on July 20, 2004 to $8.06 per

   share on July 21, 2004 - or exceptionally large volume of 5,780,000 shares- the largest

   on-day stock drop in Carrier’s history as a public company. They would be unable to

   provide meaningful guidance for 3Q04, which sent the Company’s stock price into a

   five-day downward spiral, from $12.79 on July 20, 2004 to $6.93 on July 26, 2005.

          50.     On August 12, 2004 Carrier Access filed its quarterly report for second

   quarter 2004 with the SEC on Form 10-Q. It was signed by Defendant Anderson. The


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   Company’s Form 10-Q reaffirmed the Company’s previously announced financial

   results for the second quarter 2004. Also, in the Form 10-Q the Company represented

   that its internal controls were “effective.” In addition Defendants Koenig and Anderson

   certified:

                 The registrant’s other certifying officer and I have disclosed,
                 based on our most recent evaluation of internal control over
                 financial reporting, to the registrant’s auditors and the audit
                 committee of the registrant’s board of directors (or persons
                 performing the equivalent functions):

                 (a)    all significant deficiencies and material weaknesses in
                        the design or operation of internal controls over
                        financial reporting which are reasonably likely to
                        adversely affect the registrant’s ability to record,
                        process, summarize and report financial information;
                        and
                 (b)    any fraud, whether or not material, that involves
                        management or other employees who have a
                        significant role in the registrant’s internal control over
                        financial reporting.

          51.    Notwithstanding their knowledge that the statements regarding the

   Company’s 2Q04 financial results and prospects were false and misleading, between

   June 3, 2004 and July 6, 2004, Defendants Koenig, Pierce and Anderson sold a total of

   142,687 shares of Carrier stock for unlawful insider trading proceeds exceeding $1.8

   million.

          52.   Defendant Koenig’s and Pierce’s insider sales between June 3, 2004 and

   July 6, 2004 are more suspicious in light of the fact that they did not sell a single share

   of Carrier stock after the July 21, 2004 37% slide.




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          53.    On September 8, 2004, the Company issued a press release entitled

   "Carrier Access Updates Guidance for Third Fiscal Quarter 2004." The press release

   stated in part:

                 Carrier Access Corporation, a leading provider of broadband
                 communications technologies, today announced after discussions
                 with several wireless service providers and OEM customers, and
                 due to industry consolidation in the wireless industry, it expects
                 revenues for the third fiscal quarter of 2004 to decline on a
                 sequential basis by approximately 15 to 20 percent from the $30.8
                 million recorded in the second fiscal quarter of 2004.

                 Carrier Access believes discussions with its customers have
                 resulted in increased visibility and anticipates that revenues for the
                 fourth quarter 2004 will increase slightly quarter over quarter from
                 revenues anticipated to be reported in the third quarter. Carrier
                 Access continues to see increased demand for its business service
                 delivery, including Voice-over-IP (VoIP) products and believes the
                 decrease in sales to wireless customers is a short-term event and
                 due principally to the consolidation in the wireless mobility market in
                 North America.

                 "Consolidation among wireless service providers has resulted in
                 what we believe is a short-term spending decline as wireless
                 service providers constrain their capital to rationalize their
                 networks. This is clearly affecting our top line. Although quarterly
                 revenues are anticipated to decline from those reported in the
                 second quarter of 2004, we believe we are well positioned to
                 increase revenues in 2005 in the wireless market," said Roger
                 Koening, president, CEO and chairman, Carrier Access.

                 "We remain focused on introducing new products for our
                 Broadband Business Access and Wireless customers and are
                 encouraged by customer engagements and continued trials. We
                 continue to believe we are focused on the highest growth markets
                 and believe we are well positioned to profitably grow our business,"
                 Koening said.




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          54.    On October 19, 2004, the Company issued a press release entitled

   "Carrier Access Reports Third Quarter 2004 Financial Results." The press release

   stated in part:

                 Carrier Access Corporation, a leading provider of communications
                 access technologies, today reported results for its third quarter
                 ended Sept. 30, 2004.

                 Revenue for the third quarter of 2004 was $21.6 million compared
                 to third quarter 2003 revenue of $15.9 million. Net loss for the third
                 quarter of 2004 was $3.8 million, or $0.11 per share, compared with
                 the net income of $702,000, or $0.03 per share, reported in the
                 third quarter of 2003. Net loss for third quarter 2004 includes the
                 settlement amount and legal expenses of $2.1 million associated
                 with the settlement of litigation with SMTC Manufacturing
                 Corporation of Colorado as well as $307,000 for amortization of
                 intangible assets related to a previous acquisition, which total $0.07
                 per share. "As we have previously stated, wireless consolidation
                 and budget changes significantly impacted our third quarter
                 results," said Roger Koening, president, CEO and chairman, Carrier
                 Access. "Although our quarterly revenues were less than we
                 anticipated, we maintain our belief that wireless data upgrades and
                 VoIP access delivery are significant growth areas in the
                 communications industry. As such, we believe that our focus and
                 development within these areas, combined with our strong balance
                 sheet and customer base, puts us in a good position to capitalize
                 on the global migration from circuit to packet-based infrastructure in
                 2005.

                 "Throughout the third quarter we remained focused on developing
                 our customer and product base, and delivered on expanding our
                 converged IP access with shipment of the Adit 3000 Series for
                 carrier-grade IP business services. The introduction of the Adit
                 3000 combined with the delivery of new capacities for our Adit 600
                 CMG for the conversion of telephone lines to VoIP have allowed us
                 to increase our customer base in this market. During the third
                 quarter we added 12 new customers who are deploying hosted
                 VoIP services," Koening added.

          55.    On November 12, 2004 Carrier Access filed its quarterly report for third

   quarter 2004 with the SEC on Form 10-Q. It was signed by Defendant Anderson. The



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   Company’s Form 10-Q reaffirmed the Company’s previously announced financial

   results for the third quarter 2004. Also, in the Form 10-Q the Company represented that

   the Company’s internal controls were “effective.” In addition Defendants Koenig and

   Anderson certified:

                The registrant’s other certifying officer and I have disclosed,
                based on our most recent evaluation of internal control over
                financial reporting, to the registrant’s auditors and the audit
                committee of the registrant’s board of directors (or persons
                performing the equivalent functions):

                (a)      all significant deficiencies and material weaknesses in
                         the design or operation of internal controls over
                         financial reporting which are reasonably likely to
                         adversely affect the registrant’s ability to record,
                         process, summarize and report financial information;
                         and
                (b)      any fraud, whether or not material, that involves
                         management or other employees who have a
                         significant role in the registrant’s internal control over
                         financial reporting.

         56.    On November 18, 2004, the Company issued a press release entitled

   "Carrier Access Announces CFO Resignation; Co-Founder and Board Member Nancy

   Pierce Appointed Interim CFO." The press release stated in part:

                Carrier Access Corporation, a leading provider of communications
                access technologies, said Thursday that its chief financial officer
                (CFO), Timothy R. Anderson, has resigned to pursue another CFO
                opportunity in Colorado. Nancy Pierce, the Company's co-founder
                and corporate development officer, will take responsibility as interim
                CFO, effective immediately. Pierce previously served as CFO for
                Carrier Access from 1992 through 2000, and managed the
                Company's initial public offering in July 1998. Pierce will continue
                as a member of the Carrier Access board and as corporate
                development officer, while a search is conducted.

                Carrier Access chief executive officer and president Roger Koening
                stated: "Tim brought strong financial management to our business


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                operations and the company has benefited from his many
                contributions over the years. We appreciate his dedication to
                Carrier Access and wish him all the best."

         57.    On November 18, 2005 and November 19, 2005, as a result of Carrier

   announcing Anderson’s departure, the Company’s stock price slid more than 9%, from

   $9.80 to $8.85 on heavy composite volume.               Despite Defendants’ disclosure

   concerning the circumstances of Anderson’s resignation, which was false and

   misleading in-and-of-itself, Carrier’s stock still traded at artificially inflated levels

   because the full nature and extent of the Defendants’ unlawful accounting manipulations

   remained undisclosed.

         58.    Indeed, on November 18, 2005, Pierce downplayed Anderson’s departure

   and continued to keep secret the truth of defendants’ fraud from the market.          The

   following day, the Daily Camera issued an article entitles “Executive Leaves Boulder,

   Colo.-Based Telecommunications Equipment Firm” which stated in part:

                “I’m personally disappointed that Tim’s leaving,” Pierce said, adding
                he left on good terms. “He’s a great guy.”

                                                      ***
                Carrier Access doesn’t anticipate the personnel change will affect any of
                the federal regulatory filings it’s required to make as a public company
                [(Pierce)] said. Pierce said the timing of Anderson’s decision – as
                Carrier Access’ fiscal year comes to a close next month – shouldn’t
                suggest any problems with the company’s accounting.

                “There’s nothing like that here at all.”

         59.    However, Anderson has publicly disclosed in a lawsuit against Koenig and

   Pierce that he left the Company in large part because of: (a) Carriers’ recognition of the

   $4.0 million Verizon equipment transaction in 4Q04 would be a blatant violation of




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   GAAP; (b) Pierce’s workplace conduct, which Anderson has publicly claimed to be

   “lewd and lascivious,” and (c) Pierce holding “strong ill-will” towards Anderson as a

   result of Anderson’s repeated complaints about Pierce’s over and inappropriate sexual

   behavior in the workplace.

          60.    On November 30, 2004 twelve days after his departure from Carrier,

   Anderson unloaded over 80,000 share of his Carrier stock for nearly $750,000 in ill-

   gotten proceeds, knowing or recklessly disregarding that Carrier’s FY2003 and FY2004

   financials were false and misleading.

          61.    Defendants’ false and misleading statements and omissions concerning

   Carrier’s financial results had a direct effect on the price of Carrier’s stock price, which

   continued to trade at artificially inflated levels above $9.00 per share.

          62.    On January 25, 2005, the Company issued a press release entitled

   "Carrier Access Reports Fourth Quarter and 2004 Year-End Financial Results." The

   press release stated in part:

                 Carrier Access Corporation, a manufacturer of broadband
                 communications equipment, today reported results for its fourth
                 quarter and year ended December 31, 2004.

                 Revenue for the fourth quarter of fiscal 2004 was $20.4 million
                 compared with $23.3 million for the fourth quarter of fiscal 2003.
                 Net loss for the fourth quarter of fiscal 2004 was $1.5 million or
                 $0.04 per diluted share compared with net income for the fourth
                 quarter of fiscal 2003 of $1.5 million or $0.05 per diluted share.

                 Revenue for the year 2004 was $101.4 million compared with $62.6
                 million for the year of 2003. Net income for the year of 2004 was
                 $946,000 or $0.03 per diluted share compared with $2.5 million or
                 $0.09 per diluted share for the year of 2003.




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                  Results for the fourth quarter 2004 reflect a charge of $504,000 in
                  COGS related to the write off of inventory from the Paragon
                  acquisition that was completed in November of 2003. Carrier
                  Access Chairman and Chief Executive Officer Roger Koenig stated,
                  "Fiscal 2004 was a successful year for Carrier Access. At the
                  beginning of the year our focus was to increase revenues profitably
                  during the year. We increased year over year revenues by 62%.
                  The largest portion of this increase was due to continued wireless
                  customer acceptance and implementation of our Radio Access
                  Network (RAN) platforms. We believe that our investments in
                  research and development on new platform additions to
                  economically converge broadband data with voice services in
                  wireless access networks will drive continued market success in
                  2005."

                  Koenig further stated: "Our broadband business market delivered
                  both growth and significant change during 2004. We delivered our
                  Adit VoIP access products to a significant number of new service
                  provider customers. There were many new Hosted VoIP service
                  launches during 2004 and we clearly see an industry trend of
                  converged IP service access for businesses beginning to replace
                  traditional telephone lines and services. In late 2004, Carrier
                  Access announced and began shipments of our new Adit 3K series
                  products designed to economically enable carrier-grade quality and
                  security for the delivery of new LP services to business users. We
                  have a positive outlook on the growth of the new Hosted VoIP
                  service offerings and our ability to supply specialized equipment
                  and software to access these services during 2005."

          63.     On March 22, 2005 Carrier Access filed its annual report for the year

   ending 2004 with the SEC on Form 10-K. It was signed by Defendants Koenig, Pierce,

   Laube, Barnett, Floyd and Lamming.         The Company’s Form 10-K reaffirmed the

   Company’s previously announced financial results for the fourth quarter and year

   ending 2004. In addition the Company disclosed that its internal controls were not

   “effective.”




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          64.    On April 11, 2005, Koenig announced disappointing financial results for

   Carrier for 1Q05. The Associated Press Newswire entitled ”Carrier Access sees 1Q

   Sales Below Views,” stated in part:

                 “Although we did not provide specific first quarter 2005 guidance,
                 our revenue was under our expectations for the quarter,” President,
                 CEO and Chairman Roger Koenig said in a statement. “Our
                 revenue in the first quarter was negatively impacted by lower than
                 anticipated sales in our converged access business and by lower
                 than expected orders and constrained budgets within our major
                 wireless customers.”

          65.    Again, investors were stunned by yet another Carrier revenue miss. On

   the same day, as a result of Koenig’s announcement, the Company’s tock price fell

   $0.25, or 4.1%, to close at $5.86 on heavy volume on NASDAQ, then fell $0.61, or

   10.4%, to $5.25 in after-hours trading. Despite defendants’ disclosure that Carrier was

   unable to provide 1Q05 revenue and earnings guidance, which was false and

   misleading in-and-of-itself, Carrier’s stock still traded at artificially inflated levels

   because the full nature and extent of the defendants’ unlawful accounting

   manipulations, customer saturation and “FLEXEngine” produce delivery failures

   remained undisclosed.

          66.    During the winter/spring of 2005, the Company was having difficulties

   justifying the accounting entries associated with its previously field FY2004 Form 10-K.

   Defendant Anderson had fled in November, 2004, just for this reason – he did not want

   to sign or certify the company’s false Form 10-K. The Company’s May 5, 2005, press

   release would suggest that others did not want to sign it either.




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          67.    On May 5, 2005, the Company issued a press release entitled "Carrier

   Access Receives Expected Nasdaq Deficiency Notice Related to Late Filing for Its Form

   10-K." The press release stated in part:

                 Carrier Access Corporation, a manufacturer of broadband
                 communications equipment, today announced that consistent with
                 the information provided on its press release on May 2, 2005, the
                 Company has received a Nasdaq Staff Determination letter.

                 The letter indicates that although the company filed its Form 10-K
                 for the fiscal year ended December 31, 2004, the filing did not
                 include management's assessment of its internal controls over
                 financial reporting and the associated auditor attestation report
                 (collectively, the "Attestations"). Because the Company has not
                 timely filed an amended Form 10-K, with the Attestations, it is not in
                 compliance with the Nasdaq continued listing requirements set forth
                 in Nasdaq Marketplace Rule 4310(c)(14). As a result of the
                 delinquency, Carrier Access common stock will begin trading under
                 the symbol "CACSE" effective at the opening of business on Friday,
                 May 6, 2005, and its common stock is also subject to delisting from
                 the Nasdaq Stock Market.

                 Carrier Access intends to request an appeal hearing with the
                 Nasdaq Listing Qualifications Panel within seven days of the date
                 of the Determination letter for continued listing on the Nasdaq
                 National Market. Under Nasdaq Market Place Rules, Carrier
                 Access securities will remain listed on the Nasdaq National Market
                 pending the outcome of the hearing. There can be no assurance
                 that the Panel will grant a request for continued listing.

                 As announced in its press release on May 2, 2005, Carrier Access
                 remains committed to accurate and transparent financial reporting.
                 The Company is working diligently with its auditors KPMG to
                 complete its 2004 Form 10-K and to fully comply with all
                 requirements for continued listing.

          68.    On May 20, 2005, the Company issued a press release entitled "Carrier

   Access Provides Financial Update and Receives Nasdaq Hearing Date." The press

   release stated in part:




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              Carrier Access Corporation, a manufacturer of broadband
              communications equipment, today provided an update on its
              previously announced financial review.

              Carrier Access is in the process of performing a detailed review of
              all significant customer relationships and as part of those reviews is
              evaluating the propriety of the timing of revenue and cost
              recognition and other revenue recognition issues. At this point in
              time, the Company has determined that certain revenues and direct
              costs have been recorded in incorrect periods. The amounts that
              have been quantified to date are significant and, as a result,
              previously issued financial statements for the year ended
              December 31, 2004, and certain interior periods in each of the
              years ended December 31, 2004, and 2003, will be restated.

              Carrier Access expects to file an amendment to its 2004 Form 10-K
              (the "Form 10-K/A") and its Form 10-Q for the first quarter of 2005
              as soon as reasonably possible.

              Carrier Access announced on May 5, 2005, that the Company
              received a notice on May 4, 2005, from the staff of The Nasdaq
              Stock Market which stated that although the company filed its 2004
              Form 10-K, the filing did not include management's assessment of
              its internal controls over financial reporting and the associated
              auditor attestation report (collectively, the "Attestations"). Therefore,
              it was not in compliance with the filing requirements for continued
              listing on Nasdaq as required by Nasdaq Marketplace Rule
              4310(c)(14) due to the Company's inability to timely file its Form 10-
              K/A with the Attestations for the 2004 fiscal year.

              The Company appealed the delisting notification to the Nasdaq
              Listings Qualifications Panel and is currently in the appeals
              process, which will address the delinquency of both the Form 10-
              K/A and the Form 10-Q. On May 17, 2005, the Company received a
              notice of a hearing date from the staff of The Nasdaq Stock Market
              for the Company's appeal of the Nasdaq Listing Qualifications Staff
              determination to delist the Company's securities from The Nasdaq
              National Market. The hearing will be held on Thursday, June 2,
              2005. The Company intends to submit materials and attend the
              hearing in support of its appeal. There can be no assurance that
              the Panel will grant a request for continued listing.

              Carrier Access' securities will remain listed pending a decision. The
              Company is continuing to work diligently to complete the previously



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                announced detailed review of its financial statements, to comply
                with applicable Nasdaq rules and to cooperate with Nasdaq.

   (emphasis added).

         69.    Also, on May 20, 2005, the Company filed a Form 8-K with the SEC

   announcing its May 20th press release. In the Form 8-K, the Company also announced

   that its financial statements for the year ending December 31, 2004, and certain interim

   periods for the years ended December 31, 2004 and 2003 should no longer be relied

   upon and will be restated. The Company explained:

                Management has determined that this action is the result of
                a control deficiency whereby the Company’s internal control
                procedures did not require an accounting review of its
                customer contracts to determine whether there are
                contradictory contractual provisions in existing customer
                arrangements that could bear on the appropriate timing of
                revenue recognition, and that this control deficiency
                constitutes a material weakness as of December 31, 2004.
                A material weakness is a control deficiency, or combination
                of control deficiencies, that results in a more than remote
                likelihood that a material misstatement of the annual or
                interim financial statements will not be prevented or
                detected.

         70.    On this news, the Company’s share price dropped $.69 from $5.30 to

   $4.61 per share, a decline of 13%.

         71.    As a direct result of Individual Defendants' admissions and the public

   revelations regarding the truth about Carrier Access' previous representations and its

   actual business prospects going forward, Carrier Access' stock price plummeted 37%,

   falling from $12.79 on July 20, 2004 to $8.06 per share on July 21, 2004, a drop of

   $4.73 per share. Then on May 20, 2005, further revelations relating to the quality of the

   Company's 2003-2004 results and even the quality of the Company's internal controls


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   caused the shares to fall to $4.60 from $5.30, a drop of an additional $0.70 per share.

   These drops removed the inflation from Carrier Access's stock price.

         72.    As set forth above, prior to the Company’s disclosures and with the

   Company’s stock price artificially inflated, Defendants Koenig, Pierce and Anderson

   sold 561,000 shares of Carrier Access stock for more than $7 million in gross proceeds.

         73.    As further direct result of the Defendants’ wrongful conduct, the Company

   has been named as a defendant in numerous securities class action lawsuits and is the

   subject of an informal SEC investigation.

                              CARRIER’S RESTATEMENT

         A.     Carrier Access Restates its Financial Statements for 2003 and 2004

         74.    On August 2, 2005, filed its Amended Form 10-K for the year ending

   December 31, 2004, on Form 10-K/A. In the Form 10-K/A, the Company announced its

   restatement of its 2003 and 2004 financial statements:

                Restatement of Consolidated Financial Statements

                On May 2, 2005, we announced certain issues had been
                identified relating to the proper timing of revenue recognized
                from certain customer transactions. Additionally, we
                announced that in response to the issues identified we were
                performing a detailed review of our customer relationships
                including the timing of certain revenue.

                 During the course of our detailed review of customer
                relationships, we determined that the accounting with
                respect to certain prior period transactions required
                adjustment. As a result, on May 20, 2005 we announced
                that, although we were still in the process of performing a
                detailed review of all significant customer relationships, we
                had determined that we would restate previously issued
                financial statements for the year ended December 31, 2004
                and certain interim periods in each of the years ended


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              December 31, 2003 and 2004. We subsequently identified
              additional adjustments which resulted in our decision to
              restate the previously issued financial statements for the
              year ended December 31, 2003. This Form 10-K/A includes
              restated financial statements and related financial
              information for the years ended December 31, 2003 and
              2004, and restated quarterly information for all the fiscal
              quarters of 2003 and 2004. The restated financial
              statements include a number of adjustments that impact
              previously reported revenue, cost of sales, accounts
              receivable and inventory reserves. The restated financial
              statements also include related adjustments to deferred
              revenue, sales and marketing expense and income taxes
              and a reallocation of the valuation allowance on deferred
              income tax assets between the current and non current
              portions. See the following paragraphs and refer to Note 3 of
              Notes to Consolidated Financial Statements for more
              detailed discussions of the restatement.

              Material weaknesses in our internal control over financial
              reporting as of December 31, 2004 have been identified and
              reported to our audit committee. Please see “Item 9A.
              Controls and Procedures” below for a description of these
              matters, and of certain of the measures that we have
              implemented during 2005 to date, as well as additional steps
              we plan to take to strengthen our internal control over
              financial reporting.

              Other than our Form 10-K for the year ended December 31,
              2004, we do not anticipate amending our previously filed
              annual reports on Form 10-K or our quarterly reports on
              Form 10-Q for any prior periods. As such, the consolidated
              financial statements and related consolidated financial
              information contained in previously filed reports for the years
              ended December 31, 2003 and 2004 and for the quarterly
              reports during 2003 and 2004 should no longer be relied
              upon.

              The net effects of all of the restatement adjustments on the
              statements of operations and balance sheet accounts are
              described and presented below as of the dates and for the
              periods indicated in the tables that follow. The amounts as of
              and for the years ended December 31, 2003 and 2004 are
              derived from our audited financial statements, as restated,


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              which are contained herein. We have amended each item of
              our Annual Report on Form 10-K for the fiscal year ended
              December 31, 2004 that has been affected by the
              restatement.




              The following is a summary of issues involved with the restatement:

              Passage of Title

              In the course of preparing our condensed financial
              statements for the quarter ended March 31, 2005, a
              transaction was identified whereby the underlying contract
              indicated that title passage occurred upon delivery to the
              customer whereas we had historically recognized revenues
              from this customer and all other customers based on our
              sales order acknowledgement which stated title passage and
              risk of loss occurred upon shipment from our facility. We
              then initiated a detailed review of all significant customer
              relationships to evaluate whether, historically, there was
              sufficient evidence to conclude that title and risk of loss had
              passed to each customer upon shipment. In connection with
              these detailed reviews, we determined that, for certain
              customers, the sales order acknowledgements were not
              sufficient to conclude that title and risk of loss had passed
              upon shipment. Accordingly, we decided revenue and cost of
              sales for products shipped to these customers should have
              been recognized upon delivery in our previously reported
              financial results. We have restated our previously reported
              financial results for 2003 and 2004 and for interim periods
              therein to correct for this issue. In our restated financial
              statements, revenue recognition for shipments which
              occurred at the end of calendar quarters has now been
              delayed until the following quarter.

              Probability of Collection

              During our detailed review of customer relationships we
              determined that we should not have recognized revenue for
              transactions with certain distributors where it appeared that


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              the customer may not have been sufficiently capitalized and
              their ability to pay is contingent upon their resale of our
              product. Under accounting principles generally accepted in
              the U.S., if realization of revenue is contingent upon sell-
              through it is not appropriate to recognize revenue until sell-
              through occurs or upon receipt of cash. As we did not have
              sufficient visibility into these distributors’ sales activities, we
              concluded that all sales to these distributors should have
              been recorded as revenue upon the receipt of cash. We
              have restated our previously reported financial results for
              2003 and 2004 and for interim periods therein to correct for
              this issue. We expect that the $4.5 million reduction in 2004
              revenue related to this adjustment will be recognized as
              revenue when we receive cash from the distributors.

              Undelivered Elements

              During our detailed review of customer relationships we
              determined that certain arrangements contained obligations
              to provide training, support and other deliverables that had
              not previously been accounted for as separate elements of
              the arrangement. Generally accepted accounting principles
              in the U.S. require accounting for each separate element
              and that a portion of the arrangement fee be allocated to
              each of those separable elements using an appropriately
              methodology. We had not previously allocated any
              arrangement fee to these other deliverables. We have
              restated our previously reported financial results for 2003
              and 2004 and for interim periods therein to correct for this
              issue.

              Inventory Valuation

              In the course of assembling the information for the
              restatement of our consolidated financial statements, it was
              discovered that we had reduced inventory reserves in
              situations that we had determined that the products were
              saleable. Generally accepted accounting principles in the
              U.S. provide that once inventory has been written down
              below cost as the close of a fiscal accounting period, it
              should not be written back up. As a result, we completed a
              detailed analysis of our reserves activity for each component
              in inventory. We have restated our previously reported



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               financial results for 2003 and 2004 and for interim periods
               therein to correct for this issue.

               Restatement Summary

               The following tables are reconciliations of the statements of
               operations and balance sheets as previously reported to
               amounts as restated for the periods indicated, in thousands:




                                                        Year Ended         Year Ended
                                                       December 31,       December 31,
                                                           2003               2004

   Revenues, as previously reported                $          62,556 $           101,375
   Restatement adjustments:
     Passage of title                                            (84)             (1,154)
     Probability of collection                                    —               (4,514)
     Undelivered elements                                         —                 (214)

 T Total restatement adjustments                                 (84)             (5,882)

   Revenues, as restated                           $          62,472 $            95,493



                                                         Year Ended        Year Ended
                                                        December 31,      December 31,
                                                            2003              2004

   Net income, as previously reported                  $        2,458 $             899
  R Restatement adjustments:
      Passage of Title                                            (34)             (459)
      Probability of collection                                    —             (2,170)
      Undelivered elements                                         —               (230)
      inventory valuation                                        (912)              181

   Total restatement adjustments                                 (946)           (2,678)




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    Net income (loss), as restated                      $          1,512 $        (1,779)



                                                    December 31,        December 31,
                                                        2003                2004

    Total assets, as previously reported       $            107,542 $           187,166
   Restatement adjustments:
   Accounts receivable                                          (84)              (5,752)
   Inventory                                                     50                3,089
   Inventory valuation                                         (912)                (731)
   Deferred income taxes                                        830                  363

   Total adjustments                                           (116)              (3,031)

   Total assets, as restated                   $            107,426 $           184,135

   Total liabilities, as previously reported $               18,148 $            15,401
   Restatement adjustments:
   Deferred revenue                                             —                   214
   Accrued liabilities                                          —                    16
   D Deferred income taxes                                     830                  363

   Total adjustments                                           830                  593

   Total liabilities, as restated              $             18,978 $            15,994

   Total stockholders’ equity, as restated     $             88,448 $           168,141

   Total liabilities and stockholders’
   equity, as restated                         $            107,426 $           184,135


          75.    On August 19, 2005, the Company announced that it had received a letter

   from the NASDAQ staff notifying it that the Company had failed to timely file its Form

   10-Q for the quarter ended June 30, 2005.




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           76.     As a result of Carrier’s fraudulent accounting practices, it was required to

   restate in 2003 and 2004 financial statements.                   The fact that Carrier restated its

   financial statements is an admission that:

                   (a)      the financial results originally issued during the Relevant Period
                            and its public statements regarding those results were materially
                            false and misleading;

                   (b)      the financial statements reported during the Relevant Period were
                            incorrect based on information available to defendants at he time
                            the results were originally reported; and

                   (c)      the financial statements could no longer be relied upon as being
                            accurate.


           B.      CARRIER’S GAAP VIOLATIONS AND RESTATEMENT WERE
                   MATERIAL

           77.     Carrier’s financial fraud alleged herein was material. As an initial matter,

   Carrier’s financial misstatements were clearly material solely from a numerical

   (quantitative) standpoint because the restatement represents at least $0.9 million and

   $2.7 million (62.6% and 150.5%) of inflated net income for 2003 and 2004 respectively.

   Furthermore, EPS was overstated by 66.7% and 160% for in 2003 and 2004

   respectively.

           78.     However, definitions of materiality area not limited to numbers and

   amounts – there are qualitative factors as well. SEC Staff Accounting Bulletin (“SAB”)

   Topic IM, Materiality, summarizes GAAP definitions of materiality. 1 Among other items,

   SAB Topic IM says: “A matter is ‘material” if there is a substantial likelihood that a


   1
    SAB Topic IM, Materiality, represents the codification of certain Staff Accounting Bulletins, including
   SAB No. 99, Materiality, as of May 9, 2003. SAB No. 99 was effective August 12, 1999.



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   reasonable person would consider it important.” It also stresses that materiality requires

   qualitative, as well as quantitative, considerations. For example, if a known

   misstatement would cause a significant market reaction that reaction should be taken

   into account in determining the materiality of the misstatement.

          79.    SAB Topic IM Further states:

                 Among the considerations that may well render material a quantitatively

   small misstatement of a financial statement item are –

                                             *        *   *

                 whether the misstatement masks a change in earnings or other trends

                 whether the misstatement hides a failure to meet analysis’ consensus
                 expectations for the enterprise.
                                                 * *    *

                 whether the misstatement concerns a segment or other portion of the
                 registrant’s business that has been identified as playing a significant role
                 in the registrant’s operations or profitability


          80.    SAB Topic IM also says that an intentional; misstatement of even

   immaterial items may be illegal and constitute fraudulent financial reporting.

          81.    Carrier’s misstatements, by their own admissions, satisfy these criteria

   and thus were material from both a quantitative and qualitative perspective.

          C.     Carrier Lacked Adequate Internal Controls

          82.    Defendants were able to scheme Carrier shareholders and inflate Carrier

   stock prices through accounting improprieties which resulted in materially misstated

   financial statements by means of circumventing and failing to establish and maintain

   adequate internal accounting control over:


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                 (a)    Compliance with established Company policies and procedures
                        requiring a review of consolidated statements of cash flows;

                 (b)    Effective policies and procedures to evaluate customer
                        arrangements for the appropriate application of revenue recognition
                        criteria;

                 (c)    Effective policies and procedures over accounting for inventory
                        reserves; and,

                 (d)    Lacked personnel with sufficient technical accounting expertise.

          83.    Section 13(b)(2) of the Exchange Act states, in pertinent part, that every

   reporting company must:

                 (a)    make and keep books, records, and accounts, which, in reasonable
                        detail, accurately and fairly reflect the transactions and dispositions
                        of the assets of the issuer;

                 (b)    devise and maintain a system of internal accounting controls
                        sufficient to provide reasonable assurance that –

                                                     ***

                        (ii)   transactions are recorded as necessary … to permit
                               preparation of financial statements in conformity with [GAAP]
                               ….

   15 U.S.C. §78m(b)(2)(A)-(B).


          D.     The Defendant Directors Abdicated their Oversight Responsibilities
                 to the Company

          84.    According to the Company’s SEC filings, the Company’s restatement

   resulted directly from the Company’s complete, or nearly complete, lack of effective

   internal controls.   In its Form 10-K/A filed with the SEC on August 2, 2005, the

   Company made the following disclosures:




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              ITEM 9A.CONTROLS AND PROCEDURES

              Evaluation of disclosure controls and procedures. As of the
              end of the period covered by this Annual Report on Form 10-
              K/A, under the supervision of our Chief Executive Officer and
              our Chief Financial Officer, we evaluated the effectiveness of
              our disclosure controls and procedures, as such term is
              defined in Rule 13a-15(e) and Rule 15d-15(e) under the
              Securities Exchange Act of 1934. Based on this evaluation,
              our Chief Executive Officer and our Chief Financial Officer
              have concluded that our disclosure controls and procedures
              were not effective as of the end of the period covered by this
              Annual Report on Form 10-K/A because of the material
              weaknesses in internal control over financial reporting
              discussed below.

              A material weakness, as defined under standards
              established by the Public Company Accounting Oversight
              Board’s (PCAOB) Auditing Standard No. 2, is a control
              deficiency, or a combination of control deficiencies, that
              results in a more than a remote likelihood that a material
              misstatement of the annual or interim financial statements
              would not be prevented or detected in a timely manner by
              management or by employees in the normal course of
              performing their assigned functions.

              Management has evaluated the effectiveness of our internal
              control over financial reporting as of December 31, 2004.
              Management based its assessment on the criteria
              established in a report entitled Internal Control — Integrated
              Framework issued by the Committee of Sponsoring
              Organizations of the Treadway Commission. Based on its
              assessment, management concluded that we did not
              maintain effective internal control over financial reporting as
              of December 31, 2004, because of the following material
              weaknesses:

              •     Management did not comply with our established
                    policies and procedures requiring a review of our
                    consolidated statement of cash flows. This failure to
                    comply with established policies and procedures
                    resulted in material misstatements in our December
                    31, 2004 consolidated statement of cash flows.
                    Specifically, there were material misstatements in


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                    cash flows from operating activities and cash flows
                    from investing activities. These misstatements were
                    corrected prior to our original filing of our 2004 Annual
                    Report on Form 10-K.

              •     We did not have effective policies and procedures to
                    evaluate customer arrangements for the appropriate
                    application of revenue recognition criteria as
                    contemplated by generally accepted accounting
                    principles in the U.S. This deficiency results in
                    material misstatements to our financial statements,
                    specifically the overstatement of revenue, costs of
                    sales,    and    accounts      receivable,    and     the
                    understatement of inventory in our previously filed
                    consolidated financial statements as of and for the
                    years ended December 31, 2003 and 2004, and for
                    the interim periods contained therein. Accordingly,
                    we have restated such consolidated financial
                    statements to reflect the correction of these errors.

              •     We did not have effective policies and procedures
                    over accounting for our inventory reserves to prevent
                    the write of inventory once it had been written down in
                    a previous fiscal accounting period. This deficiency
                    resulted in material misstatements of inventory and
                    cost of sales in our previously filed consolidated
                    financial statements as of and for the years ended
                    December 31, 2003 and 2004, and for the interim
                    periods contained therein. Accordingly, we have
                    restated such consolidated financial statements to
                    reflect the correction of these errors.

              •     We lacked the depth of personnel with sufficient
                    technical accounting expertise to identify and account
                    for complex transactions in accordance with generally
                    accepted accounting principles in the U.S. This
                    deficiency contributed to the aforementioned
                    misstatements and resulted in there being more than
                    a remote likelihood that a material misstatement of
                    the annual or interim financial statements would not
                    be prevented or detected.

              •     Our independent registered public accounting firm,
                    KPMG LLP, has issued an audit report on


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                    management’s assessment of our internal control
                    over financial reporting, which is filed below.

                                          ***

              Remediation of weaknesses in internal control over financial
              reporting. Subsequent to December 31, 2004, we have
              implemented, or plan to implement, the specific measures
              described below to remediate the material weaknesses
              described above.

              In respect to the material weakness in the consolidated
              statement of cash flows discussed in Item 9A(b) above, in
              2005, we will require the Chief Financial Officer to monitor
              the compliance with our established policy which provides
              for a review of the statement of cash flows by a technically
              competent individual.

              We are in the process of establishing controls to remediate
              the material weakness in internal controls relating to
              accounting for revenue recognition. A review by a technically
              qualified person will be performed on all customer
              arrangements for the purpose of evaluating the appropriate
              application of the revenue recognition criteria as
              contemplated by generally accepted accounting principles in
              the U.S.

              To address the material weakness in controls over
              accounting for inventory reserves, in 2005, we designed an
              additional policy which requires a review of reserve activity
              by a qualified individual.

              We are in the process of addressing the material weakness
              related to the lack of depth of personnel with sufficient
              technical accounting expertise. In this regard, in 2005, we
              hired a new Chief Financial Officer and plan to establish a
              formal process for the periodic technical training of the
              financial and sales personnel.

              The aforementioned material weaknesses will not be
              considered remediated until new processes are fully
              implemented, operate for a period of time and are tested and
              we conclude that they are operating effectively. We
              anticipate that we will report in our Quarterly Report on


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                   Forms 10-Q for the first and second quarters of 2005 that
                   material weaknesses in our internal control over financial
                   reporting continue to exist and that our disclosure controls
                   and procedures were not effective as of March 31, 2005 and
                   June 30, 2005.

          85.      AU §319.06, Internal Control in a Financial Statement Audit, defines

   internal controls as "a process - effected by an entity's board of directors, management,

   and other personnel - designed to provide reasonable assurance regarding the

   achievement of objectives in the following categories: (a) reliability of financial reporting, (b)

   effectiveness and efficiency of operations, and (c) compliance with applicable laws and

   regulations.”

          86.      Carrier Access’ lack of adequate internal controls rendered its Relevant

   Period financial reporting inherently unreliable and precluded the Company from

   preparing financial statements that complied with GAAP. Nonetheless, as detailed

   above, throughout the Relevant Period, the Company regularly issued quarterly and

   annual financial statements without ever disclosing the existence of the significant and

   material deficiencies in its internal accounting controls and falsely asserted that its

   financial statements complied with GAAP.

          87.      The conduct of Defendants Floyd, Laube, Barnett and Lamming was

   particularly egregious in that they were members of the Audit Committee during the time

   period in which the Company’s wrongdoing was ongoing. Defendants Laube, Barnett

   and Floyd have served as members of the Company’s Audit Committee since at least

   2002. Defendant Lamming has served on the Audit Committee since April 2, 2004.




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   According to the Charter for the Company’s Audit Committee, the purpose of the

   Company’s Audit Committee is as follows:

                 The purpose of the Audit Committee of the Board of
                 Directors of Carrier Access Corporation (the “Company”)
                 shall be to:

                        •         Provide oversight of the Company’s accounting
                                  and financial reporting processes and the audit
                                  of the Company’s financial statements;

                        •         Assist the Board of Directors in oversight of (1)
                                  the integrity of the Company’s financial
                                  statements, (2) the Company’s compliance
                                  with legal and regulatory requirements; (3) the
                                  independent       auditors’       qualifications,
                                  independence and performance, and (4) the
                                  Company’s internal accounting and financial
                                  controls; and

                        •         Provide to the Board of Directors such
                                  information and materials as it may deem
                                  necessary to make the board aware of
                                  significant financial matters that require the
                                  attention of the board.

   Further, the Audit Committee’s duties include, but are not limited to, the following

   responsibilities and duties:

                                                 ***

                        •         Reviewing the reports of management and the
                                  independent auditors concerning the design,
                                  implementation and maintenance of the
                                  Company’s internal controls and procedures
                                  for financial reporting, including meeting
                                  periodically with the Company’s management
                                  and the independent auditors to review their
                                  assessment of the adequacy of such controls,
                                  and to review before release the disclosure
                                  regarding such system of internal controls
                                  required under SEC Rules to be contained in


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                              the Company’s periodic filings and the
                              attestations or reports by the independent
                              auditors relating to such disclosure.

         88.     The Company’s Board of Directors and particularly the members of its

   Audit Committee and its CEO, Koening, wholly abdicated their responsibilities to the

   Company and its shareholders by failing to implement adequate accounting procedures

   and internal controls necessary to provide reasonable assurance that the Company’s

   financial statements were issued in accordance with GAAP and that the Company was

   in compliance with all federal and state laws.

                             ILLEGAL INSIDER STOCK SALES

         E.     Defendants Koenig, Pierce and Anderson’s Illegal Insider Stock
                Sales

         89.    During the Relevant Period, with the Company’s share price artificially

   inflated, Defendants Koenig and Pierce, through Keld, a limited liability company owned

   by Koenig and Pierce, sold 561,000 Carrier Access shares for proceeds of

   $7,034,165.56.

         90.    Koenig and Pierce’s trading was timed to profit from the artificial inflation

   in Carrier’s stock price. Koenig and Pierce sold at an average share price of $12.54

   (143% higher than the average trading price of the Company’s stock after defendants’

   fraud was revealed). Therefore, Koenig’s and Pierce’s sales were not merely unusual in

   amount, but also were timed to take advantage of the artificial inflation in the price of

   Carrier stock that immediately followed their publicly disseminated false and misleading

   statements concerning Carrier’s financial results and condition.




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         91.      Defendant Anderson personally sold 171,319 shares of Carrier stock for

   insider trading proceeds exceeding $1.7 million, also benefiting from the artificial

   inflation in Carrier’s stock price. During the Relevant Period, Anderson sold 77.56% of

   his Carrier stock holdings. Anderson’s reported insider trading during the Relevant

   Period is detailed below.

                        Name         Date          Shares     Price        Proceeds
               Timothy R. Anderson    6/10/2004      2,150   $11.98       $25,757.00
                                      4/29/2004      6,000 $10.978        $65,868.00
                                      5/6/2004       6,000 $10.481        $62,883.00
                                      5/13/2004      6,000   $9.731       $58,388.00
                                      5/20/2004      6,000   $9.057       $54,343.00
                                      5/26/2004     20,000 $10,420       $208,400.00
                                      5/27/2004      6,000 $10.673        $64,039.00
                                      6/3/2004       6,000 $11.500        $69,000.00
                                      6/10/2004      2,150 $11.980        $25,757.00
                                      6/10/2004      1,000 $11.960        $11,960.00
                                      6/10/2004        900 $12.270        $11,043.00
                                      6/10/2004        500 $12.260         $6,130.00
                                      6/10/2004        400 $12.180         $4,872.00
                                      6/10/2004        250 $12.120         $3,030.00
                                      6/10/2004        200 $12.160         $2,432.00
                                      6/10/2004        200 $12.190         $2,438.00
                                      6/10/2004        200 $12.250        $12.450.00
                                      6/10/2004        100 $12.110         $1,211.00
                                      6/10/2004        100 $12.170         $1,217.00
                                      6/17/2004        687 $12.011         $8,251.00
                                      7/2/2004      21,500 $14.000       $301,000.00
                                      7/6/2004       3,500 $14.000        $49,000.00
                                     11/30/2004     49,462   $9.110      $451,510.00
                                     11/30/2004     31,594   $9.000      $284,346.00



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                               11/30/2004     1,876   $9.000   $16,884.00
                               11/30/2004      600    $9.110    $5,466.00
           TOTAL                            171,319            $1,771,918
           Keld LLC            10/21/2003     3,000    $6.01    $18,030.00
                               10/22/2003       600    $6.41     $3,846.00
                               10/22/2003     3,000    $6.75    $20,250.00
                               10/22/2003       500    $6.44     $3,220.00
                               10/22/2003     1,350    $6.40   $ 8,640.00
                               10/22/2003     3,000    $7.35   $ 22,050.00
                               10/22/2003       550   $6.41    $ 3,526.60
                               10/27/2003       300    $9.93   $ 2,979.00
                               10/27/2003     1,000    $9.95   $ 9,950.00
                               10/27/2003       400   $9.37    $ 3,749.60
                               10/27/2003     2,600    $9.38   $ 24,388.00
                               10/27/2003       700   $9.85    $ 6,897.80
                               10/28/2003       900   $9.80    $ 8,820.00
                               10/28/2003     1,100    $9.82   $ 10,802.00
                               10/28/2003       500    $9.83   $ 4,915.00
                               10/29/2003     1,300    $9.50   $ 12,350.00
                               10/29/2003       300   $9.51    $ 2,853.00
                               10/29/2003       200   $9.50    $ 1,900.20
                               10/29/2003       700   $9.51    $ 6,657.70
                               10/30/2003     2,500    $9.90   $ 24,750.00
                               10/30/2003       900   $10.35   $ 9,315.00
                               10/31/2003       100   $10.06   $ 1,006.00
                               10/31/2003       375   $10.01   $ 3,753.75
                               10/31/2003     1,125   $10.00   $ 11,250.00
                                11/3/2003     3,000   $10.40   $ 31,205.10
                                11/4/2003       100   $11.11   $ 1,111.00
                                11/4/2003       100   $11.12   $ 1,112.00
                                11/4/2003     2,900   $10.90   $ 31,610.00
                                11/4/2003     2,800   $11.10   $ 31,080.00
                                11/4/2003       100   $10.92   $ 1,092.00
                                11/5/2003     3,000   $11.50   $ 34,500.00
                                11/6/2003     1,500   $11.75   $ 17,625.00
                                11/7/2003     1,500   $12.00   $ 18,000.00
                               11/10/2003       900   $11.51   $ 10,359.00
                               11/10/2003       400   $11.51   $ 4,605.20
                               11/10/2003     1,700   $11.50   $ 19,550.00
                               11/12/2003     2,000   $11.75   $ 23,500.00
                               11/12/2003     2,500   $11.60   $ 29,000.00
                               11/12/2003     1,500   $11.30   $ 16,950.00
                               11/12/2003     1,500   $11.45   $ 17,175.00
                               11/13/2003     2,000   $12.00   $ 24,000.00
                               11/13/2003     2,500   $11.60   $ 29,000.00
                               11/17/2003     3,000   $12.76   $ 38,280.00


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                               11/18/2003    2,000   $13.00   $   26,000.00
                               11/18/2003    1,000   $13.01   $   13,010.00
                               11/18/2003    3,000   $13.50   $   40,500.00
                               11/19/2003      500   $12.63   $    6,315.00
                               11/19/2003      200   $12.62   $    2,524.00
                               11/19/2003      300   $13.35   $    4,005.00
                               11/20/2003      500   $12.96   $    6,480.00
                               11/20/2003      600   $12.90   $    7,740.00
                               11/20/2003      630   $13.00   $    8,192.52
                               11/20/2003      100   $13.05   $    1,305.00
                               11/20/2003      400   $12.98   $    5,192.00
                               11/20/2003      100   $12.98   $    1,298.10
                               11/20/2003      400   $12.91   $    5,164.00
                               11/20/2003      500   $13.03   $    6,515.00
                               11/20/2003      770   $13.00   $   10,010.00
                               11/20/2003    1,000   $12.80   $   12,800.00
                               11/24/2003    2,500   $13.00   $   32,500.00
                               11/24/2003    2,500   $13.40   $   33,500.00
                               11/25/2003    1,672   $14.50   $   24,244.00
                               11/25/2003      100   $14.55   $    1,455.00
                               11/25/2003      300   $4.53    $    4,359.00
                               11/25/2003      328   $14.51   $    4,759.28
                               11/25/2003      100   $14.52   $    1,452.00
                               11/25/2003    2,500   $14.80   $   37,000.00
                               11/26/2003      100   $14.85   $    1,485.10
                               11/26/2003    1,900   $14.75   $   28,025.00
                               11/26/2003      400   $14.85   $    5,940.00
                               11/26/2003    2,000   $14.80   $   29,600.00
                               11/26/2003      600   $14.77   $    8,862.00
                                12/1/2003      900   $15.10   $   13,590.00
                                12/1/2003      100   $15.06   $    1,506.00
                                12/1/2003      300   $15.12   $    4,536.00
                                12/1/2003      200   $15.00   $    3,000.00
                                12/1/2003      100   $15.07   $    1,507.00
                                12/1/2003      700   $15.08   $   1,0556.00
                                12/1/2003      700   $15.09   $   10,563.00
                                12/2/2003    2,500   $15.50   $   38,750.00
                                12/2/2003      500   $15.55   $    7,775.00
                                12/4/2003    2,500   $14.50   $   36,250.00
                                12/4/2003    2,500   $14.10   $   35,250.00
                                12/5/2003      400   $13.29   $    5,316.00
                                12/5/2003    1,500   $13.25   $   19,875.00
                                12/5/2003    2,100   $13.20   $   27,720.00
                                12/8/2003      100   $13.42   $    1,342.00
                                12/8/2003      500   $13.41   $    6,705.00
                                12/8/2003       78   $13.40   $    1,045.20
                                12/8/2003      100   $13.45   $    1,345.00
                                12/8/2003    1,722   $13.43   $   23,126.46


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                                12/8/2003      500   $1346    $    6,730.00
                                12/9/2003      100   $13.57   $    1,357.00
                                12/9/2003      100   $13.84   $    1,384.00
                                12/9/2003      200   $13.83   $    2,766.00
                                12/9/2003    1,500   $13.81   $   20,715.00
                                12/9/2003    1,100   $13.75   $   15,125.00
                               12/11/2003    1,500   $12.70   $   19,050.00
                               12/11/2003    1,500   $12.30   $   18,450.00
                               12/11/2003    1,500   $11.90   $   17,850.00
                               12/11/2003    1,500   $11.50   $   17,250.00
                               12/12/2003    2,700   $12.80   $   34,560.00
                               12/12/2003      100   $12.80   $    1,280.40
                               12/12/2003      200   $12.80   $    2,560.00
                               12/16/2003    2,500   $11.80   $   29,500.00
                               12/17/2003    1,400   $11.40   $   15,960.00
                               12/17/2003    1,100   $11.33   $   12,463.00
                               12/18/2003    2,500   $12.45   $   31,125.00
                               12/18/2003    2,500   $12.25   $   30,625.00
                               12/19/2003    2,400   $12.50   $   30,000.00
                               12/19/2003      100   $12.41   $    1,241.00
                               12/19/2003      300   $12.40   $    3,720.00
                               12/19/2003      200   $12.60   $    2,520.00
                               12/19/2003    1,000   $12.59   $   12,590.00
                               12/19/2003      100   $12.51   $    1,251.00
                               12/19/2003      400   $12.66   $    5,064.00
                               12/19/2003      400   $12.65   $    5,060.00
                               12/19/2003      100   $12.64   $    1,264.00
                               12/22/2003      400   $11.96   $    4,784.40
                               12/22/2003      700   $11.96   $    8,372.00
                               12/22/2003      200   $11.95   $    2,390.00
                               12/22/2003    1,200   $12.07   $   14,484.00
                               12/22/2003    1,300   $12.05   $   15,665.00
                               12/23/2003      600   $12.12   $    7,274.40
                               12/23/2003      300   $2.18    $    3,654.00
                               12/23/2003      455   $12.20   $    5,551.00
                               12/23/2003    3,000   $12.10   $   36,300.00
                               12/23/2003      945   $12.11   $   11,443.95
                               12/23/2003      600   $12.12   $    7,272.00
                               12/23/2003      300   $12.24   $    3,672.00
                               12/24/2003      300   $12.10   $    3,630.00
                               12/24/2003      900   $12.15   $   10,935.00
                               12/24/2003    1,300   $12.16   $   15,808.00
                               12/242003     2,500   $12.30   $   30,750.00
                               12/29/2003    5,000   $12.20   $   61,013.00
                               12/30/2003    5,000   $12.51   $   62,566.50
                               12/31/2004    5,000   $12.44   $   62,221.00
                                 1/5/2004    3,000   $14.13   $   42,384.30
                                 1/6/2004    3,000   $14.25   $   42,750.00


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                                 1/7/2004     3,000   $14.75    $ 44,243.10
                                 1/8/2004     3,000   $15.14    $ 45,413.10
                                 1/9/2004     3,000   $15.11    $ 45,319.80
                                1/12/2004     3,000   $15.29    $ 45,879.00
                                1/13/2004     3,000   $16.50    $ 49,500.00
                                1/13/2004     3,000   $15.50    $ 46,500.00
                                1/14/2004     3,000   $16.18    $ 48,528.90
                                1/15/2004     3,000   $16.02    $ 48,063.90
                                1/20/2004     3,000   $17.75    $ 53,250.00
                                1/21/2004     3,000   $15.00    $ 45,000.00
                                1/22/2004     4,500   $14.68    $ 66,059.55
                                1/23/2004     4,500   $14.96    $ 67,199.85
                                1/26/2004     3,000   $14.78    $ 44,337.00
                                1/27/2004     3,000   $15.04    $ 45,132.00
                                1/28/2004     3,000   $14.11    $ 42,318.90
                                 2/2/2004     3,000   $13.04    $ 39,120.00
                                 2/3/2004     3,000   $13.04    $ 39,117.90
                                 2/4/2004     3,000   $13.03    $ 39,086.40
                                 2/5/2004     3,000   $13.09    $ 39,260.40
                                 2/6/2004     3,000   $13.21    $ 39,641.40
                                 2/9/2004     3,000   $14.14    $ 42,410.10
                                2/10/2004     3,000   $14.08    $ 42,242.70
                                2/11/2004     3,000   $14.04    $ 42,109.50
                                2/12/2004     3,000   $13.30    $ 39,885.90
                                2/132004      3,000   $13.00    $ 39,000.00
                                2/17/2004     3,000   $12.40    $ 37,203.00
                                2/18/2004     4,000   $12.52    $ 50,092.40
                                2/19/2004     4,000   $12.61    $ 50,440.00
                                2/20/2004     4,000   $11.00    $ 44,000.00
                                2/23/2004     3,000   $11.75    $ 35,250.00
                                2/24/2004     3,000   $10.32    $ 30,960.00
                                2/25/2004     3,000   $10.35    $ 31,050.00
                                2/26/2004     3,000   $10.36    $ 31,080.00
                                2/27/2004     3,000   $11.20    $ 33,600.00
                                3/31/2004    60,000   $12.50    $750,000.00
                                 4/2/2004    15,000   $12.62    $189,300.00
                                 4/5/2004    30,000   $12.83    $384,900.00
                                4/13/2004    15,000   $12.50    $187,500.00
                                6/24/2004    30,000   $12.51    $375,300.00
                                6/25/2004    15,000   $12.62    $189,300.00
                                 7/1/2004    30,000   $12.80    $384,000.00
                                 7/2/2004    15,000   $13.86    $207,900.00
                                 7/6/2004    15,000   $14.30    $214,500.00
   Total                                    561,000            $7,034,165.56




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         92.    Like Koenig and Pierce, Anderson timed his trades well, selling his stock

   at an average price of $10.34 per share (100.4% higher than the average post-Relevant

   Period trading price of Carrier Stock). Anderson’s trades were highly suspicious in

   comparison to his trading history. Before his first Relevant Period sale on April 29,

   2004, Anderson had not sold Carrier stock in almost four years. In addition, Anderson

   affected 51.1% of his insider sales in the four months leading up to Carrier’s July 21,

   2004 stock price slide.

         93.    All told, the Individual Defendants sold 732,319 shares of Carrier stock at

   artificially inflated prices for a total of $8,806.105 in unlawful proceeds. The highly

   suspicious amount and timing of the Individual Defendants’ insider trading supports a

   strong inference that they were trading with knowledge of the fraud alleged herein and

   sought to capture the stock’s inflated value before the market could absorb the true

   information regarding the Company’s financial results and prospects.

         94.    On July 18, 2006, the Honorable Lewis T. Babcock of the United States

   District Court for the District of Colorado denied Defendants’ Motion to Dismiss the

   securities class action lawsuit styled, Crocker v. Carrier Access Corporation, et al.,

   Case No. 05-cv-01011-LTB-OES filed against defendant Carrier and individual

   defendants Koenig, Pierce and Anderson. Specifically, the Court’s Order (the “Order”)

   denied defendants’ motion to dismiss and found that plaintiffs’ successfully stated

   claims for violations of Section 10(b) of the Exchange Act and Rule 10(b)(5) against

   defendants Koenig, Pierce and Anderson and Carrier Access.               Plaintiffs also

   successfully pled violations of federal securities law Section 20(a) in that Koenig and



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   Pierce controlled and exercised authority over those who made decisions to overstate

   earnings and that they violated Section 20A of the Exchange Act by participating in

   contemporaneous insider trading.

          95.    More specifically within the Court’s Order, the Court held that

   “[d]efendants are pummeling a straw man” and that           “…a jury could find that the

   defendants had a duty to make a full and truthful disclosure of the facts, allegedly

   known to Mr. Koenig in April, 2004, that the market for Carrier’s then-existing products

   were exhausted and that the new product, FLEXEngine, would not be ready in time for

   its promised delivery.” The Court also noted that Mr. Koening was Carrier’s CEO, and

   the only fair and reasonable inference is that he knew the status of the development of

   the one product on which Carrier’s future profitability depended. Further, the Court also

   held in denying defendants’ motion to dismiss that the fact of the magnitude of the

   Company’s misstatement and the positions of authority that Mr. Koening and Ms. Pierce

   occupied within the Company coupled with the motive and opportunity that they

   enjoyed, and the Sarbanes-Oxley certificates that they signed, gave rise to a strong

   inference of scientor.

                      DEMAND IMPROPERLY DENIED ALLEGATIONS

          96.    Plaintiff brings this action derivatively in the right and benefit of Carrier

   Access to redress injuries suffered and to be suffered by Carrier Access as a result of

   the breaches of fiduciary duty by the Individual Defendants.

          97.    Plaintiff will adequately and fairly represent the interests of Carrier Access

   and its shareholders in enforcing and prosecuting its rights.



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          98.    Plaintiff is the owner of Carrier Access common stock and was an owner

   of Carrier Access at all times relevant to the Individual Defendants’ wrongful course of

   conduct alleged herein.

          99.    Plaintiff, through counsel, made demand on Carrier Access’ Board to

   investigate these and other issues, on December 6, 2006. See Exhibit A, incorporated

   herein.

          100.   Instead of responding to Plaintiff’s shareholder demand, on January 10,

   2007, the Company and Board’s counsel sent to Plaintiff’s counsel the Board’s

   response related to the shareholder demand made by another shareholder, James

   Kenney. See, Exhibit B, incorporated herein. Further, instead of contacting Plaintiff, a

   committed shareholder, for meaningful input, the Board instead chose to attempt

   contacting with Mr. Kenney’s counsel who did not return any calls to the Directors’

   counsel and who also never sought to have input in the Board’s consideration of these

   events. In fact, the Board did not respond to Plaintiff’s specific demand nor at any time

   did the Board’s counsel attempt to contact Plaintiff or his counsel.

          101.   On January 15, 2007, Plaintiff’s Counsel responded to the Company’s

   counsel’s response to Mr. Kenney’s demand. See, Exhibit C, incorporated herein. As

   evidenced within the letter, the directors did not attempt to contact Plaintiff or its counsel

   even though the directors were aware of Plaintiff’s continued interest in this litigation.

   The Company’s secretary’s certification does not even reference the fact that Plaintiff

   served a demand on the Board. These facts clearly illustrate a failure by the alleged

   independent directors to conduct a meaningful investigation.



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           102.   At the time demand was made, the Board consisted of seven members:

   Defendants Koenig, Pierce, Barnett, Laude, Floyd, Lord and Fleming.          All of these

   individuals have been named as Defendants herein.           The refusal to acknowledge

   Plaintiff’s demand on Carrier Access’ Board or seek input from Plaintiff, particularly in

   light of the Order and damage suffered by the Company, evidences a lack of a good

   faith exercise of its business judgment.

           103.   Carrier Access has expended and will continue to expend significant sums

   of money as a result of the illegal and improper actions described above. Such

   expenditures will include, but are not limited to:

              a. Costs incurred to carry out internal investigations, including accounting
                 fees and legal fees paid to outside counsel and experts; and

              b. Costs and legal fees for defending Carrier Access and the Individual
                 Director Defendants against securities class action litigation arising from
                 illegal and improper conduct alleged herein.


                                    FIRST CAUSE OF ACTION

                                 Against Individual Defendants
                                  for Breach of Fiduciary Duty

           104.   Plaintiff incorporates by reference and reallege each and every allegation

   set forth above as if set forth fully herein.

           105.   The Individual Defendants owed and owe Carrier Access fiduciary

   obligations. By reason of their fiduciary relationships, the Individual Defendants owed

   and owe Carrier Access the highest obligation of good faith, fair dealing, loyalty and due

   care.




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          106.    The Individual Defendants, and each of them, violated and breached their

   fiduciary duties of care, loyalty, reasonable inquiry, oversight, good faith and

   supervision.

          107.    The Individual Defendants had actual or constructive knowledge that they

   had caused the Company to improperly misrepresent the financial condition and

   business prospects of the Company and failed to correct the Company's publicly

   reported financial results and guidance.             Moreover, the Individual Defendants

   completely abdicated their fiduciary duties to the Company by failing to implement

   internal financial controls that would have prevented the wrongdoing alleged herein.

   These actions could not have been a good faith exercise of prudent business judgment

   to protect and promote the Company's corporate interests.

          108.    As a direct and proximate result of the Individual Defendants' failure to

   perform their fiduciary obligations, Carrier Access has sustained significant damages.

   As a result of the misconduct alleged herein, the Individual Defendants are liable to the

   Company.

                                  SECOND CAUSE OF ACTION

                               Against The Individual Defendants
                                     for Abuse of Control

          109.    Plaintiff incorporates by reference and reallege each and every allegation

   set forth above as if set forth fully herein.

          110.    The Individual Defendants’ misconduct alleged herein constituted an

   abuse of their ability to control and influence Carrier Access, for which they are legally

   responsible.


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          111.   As a direct and proximate result of the Individual Defendants' abuse of

   control, Carrier Access has sustained significant damages.

          112.   As a result of the misconduct alleged herein, the Individual Defendants are

   liable to the Company.

                                   THIRD CAUSE OF ACTION

                               Against The Individual Defendants
                                  for Gross Mismanagement

          113.   Plaintiff incorporates by reference and reallege each and every allegation

   set forth above as if set forth fully herein.

          114.   By their actions alleged herein, the Individual Defendants, either directly or

   through aiding and abetting, abandoned and abdicated their responsibilities and

   fiduciary duties with regard to prudently managing the assets and business of Carrier

   Access in a manner consistent with the operations of a publicly held corporation.

          115.   As a direct and proximate result of the Individual Defendants' gross

   mismanagement and breaches of duty alleged herein, Carrier Access has sustained

   significant damages in excess of millions of dollars.

          116.   As a result of the misconduct and breaches of duty alleged herein, the

   Individual Defendants are liable to the Company.

                                  FOURTH CAUSE OF ACTION

                               Against The Individual Defendants
                                for Waste of Corporate Assets

          117.   Plaintiff incorporates by reference and reallege each and every allegation

   set forth above as if set forth fully herein.



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          118.   As a result of the Individual Defendants’ improper conduct and by failing to

   properly consider the interests of the Company and its public shareholders by failing to

   conduct proper supervision, Individual Defendants have caused Carrier Access to waste

   valuable corporate assets by paying bonuses to certain of its executive officers and

   exposing the Company to potentially millions of dollars of legal liability and/or legal costs

   to defend the Director Defendants’ unlawful actions.

          119.   As a result of the waste of corporate assets, the Individual Defendants are

   liable to the Company.

                                    FIFTH CAUSE OF ACTION

                               Against The Individual Defendants
                                    for Unjust Enrichment

          120.   Plaintiff incorporates by reference and reallege each and every allegation

   set forth above as if set forth fully herein.

          121.   By their wrongful acts and omissions, the Individual Defendants were

   unjustly enriched at the expense of and to the detriment of Carrier Access.

          122.   Plaintiff, as a shareholder and representative of Carrier Access, seeks

   restitution from the Individual Defendants, and seeks an order of this Court disgorging

   all profits, benefits and other compensation obtained by the Individual Defendants, from

   their wrongful conduct and breaches of fiduciary duties.




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                                    SIXTH CAUSE OF ACTION

                      Against Defendants Koenig, Pierce and Anderson
                      for Breach of Fiduciary Duties for Insider Selling
                           and for Misappropriation of Information

          123.    Plaintiff incorporates by reference and reallege each and every allegation

   set forth above, as if set forth fully herein.

          124.    At the time of the stock sales set forth herein by Defendants Koenig,

   Pierce and Anderson, they knew the information described herein and sold Carrier

   Access common stock on the basis of such information.

          125.    The information described herein was proprietary non-public information

   concerning the Company's financial condition and future business prospects. It was a

   proprietary asset belonging to the Company, which the Defendants Koenig, Pierce and

   Anderson used for their own benefit when they sold Carrier Access common stock.

          126.    Defendants Koenig, Pierce and Anderson’s sale of Carrier Access

   common stock while in possession and control of this material adverse non-public

   information was a breach of their fiduciary duties of loyalty and good faith.

          127.    Since the use of the Company's proprietary information for their own gain

   constitutes a breach of Defendants Koenig, Pierce and Anderson’s fiduciary duties, the

   Company is entitled to the imposition of a constructive trust for any profits Defendants

   Koenig, Pierce and Anderson obtained thereby.




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                                 SEVENTH CAUSE OF ACTION

                     Against Defendants Koenig, Pierce and Anderson,
                   Pursuant to 15 U.S.C. §7243 (SARBANES-OXLEY ACT)

          128.   Plaintiff incorporates by reference and reallege each and every allegation

   set forth above as if set forth fully herein.

          129.   Based upon the allegations made above, and pursuant to 15 U.S.C.

   §7243, Carrier Access is entitled to reimbursement of all bonuses and other incentive-

   based or equity-based compensation paid to Defendants Koenig, Pierce and Anderson,

   as well as any profits realized from the sale of Carrier Access securities by them.

          130.   Defendants Koenig, Anderson and Pierce are also liable for reasonable

   costs and attorneys fees incurred in the prosecution of this lawsuit.

                                      PRAYER FOR RELIEF

   WHEREFORE, Plaintiff prays for relief and judgment, as follows:

          A.     Against the Individual and Director Defendants and in favor of the

   Company for the amount of damages sustained by the Company as a result of the

   Individual and Director Defendants' breaches of fiduciary duties, abuse of control, gross

   mismanagement, waste of corporate assets and unjust enrichment, including attorney

   fees, accounting fees, investigation expenses and other costs and expenses incurred in

   connection with the Company’s restatement, the SEC investigation and the securities

   class action lawsuits;

          B.     Extraordinary equitable and/or injunctive relief as permitted by law, equity

   and state statutory provisions sued hereunder, including attaching, impounding,

   imposing a constructive trust on or otherwise restricting the proceeds of the Individual


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   and Director Defendants’ and Defendant Keld’s trading activities or their other assets so

   as to ensure that Plaintiffs have an effective remedy;

           C.    Declaring that Defendants Koenig, Anderson and Pierce are liable under

   the Sarbanes-Oxley Act of 2002 and requiring them to reimburse Carrier Access for all

   bonuses or other incentive-based compensation received by them during 2003 through

   2004;

           D.    Awarding to Carrier Access restitution from the Individual and Director

   Defendants, and each of them, and ordering disgorgement of all profits, benefits and

   other compensation obtained by these Individual and Director Defendants;

           E.    Awarding to Plaintiff the costs and disbursements of the action, including

   reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and

           F.    Granting such other and further relief as the Court deems just and proper.

                                        JURY DEMAND

   Plaintiff demands a trial by jury.

   DATED: March 7, 2007

                                            Respectfully Submitted,

                                            s/ Renée B. Taylor
                                            Renée B. Taylor
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